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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GENA ALULIS and                                                    CIVIL ACTION
PAUL ALULIS
                                                                   CASE NO.:
                 v.
                                                                   Jury Trial Demanded
THE CONTAINER STORE, INC.
          and
BASE4 GROUP, INC.


                                     NOTICE OF REMOVAL

       Defendant BASE4 Ventures, LLC, formerly known as BASE4 Group, Inc., (hereinafter

"BASE4") by and through its attorneys, Marshall Dennehey Warner Coleman & Goggin, hereby

respectfillly files the Notice of Removal of this action, which is currently pending in the Court of

Common Pleas of Philadelphia County, Pennsylvania, April Term 2019, Case No. 00616,

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and in suppose thereof, avers as follows:

I.     Factual and Procedural History

        1.       On or about April 3, 2019, Plaintiffs Gena and Paul Alulis filed the instant lawsuit

in the Philadelphia County Court of Common Pleas. SeePlaintiffs' Complaint, attached hereto

as Exhibit "A. 97




        2.       Generally speaking, Plaintiffs allege that Gena Alulis was shopping at The

Container Store in King of Prussia, Pennsylvania, when a Magnetic KNIFEstrip fell on her foot,

causing a fracture and other injuries. See      at 111] 6-8, 11.

        3.       Gena Alulis asselts causes of action for negligence, strict liability, and breach of

wall'anty, and Paul Alulis is asserting a loss of consortium claim. See generally Exhibit "A.
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         4.     The Complaint was served on BASE4 on May 17, 2019. See Affidavit of
                                        as
Service, attached hereto as Exhibit "B .

         5.     While this matter was pending in the Court of Common Pleas, BASE4 timely

filed Preliminary Objections to the Complaint, asserting a lack of personal jurisdiction. See

Preliminary Objections, attached hereto as Exhibit "C.99

         6.     BASE4 anticipates reiterating its objection to personal jurisdiction before this

Court.

11.      Diversjt.y of Citizenship exists amopgjhe parties.

         7.     Pursuant to 28 U.S.C. § 144l(b), a defendant may remove a case from state cou11

to federal could based on diversity jurisdiction, and pursuant to § 1332(a)(2), a federal district court

may exercise diversity jurisdiction where the parties are citizens of different states, and the amount

in controversy exceeds $75,000.

         8.     Diversity of citizenship exists in this case because, as will be set forth below,

Plaintiffs are citizens of Pennsylvania and Defendants are citizens of Texas.

         9.     Plaintiffs Gena and Paul Alulis are individuals with a stated residence in

Philadelphia, PA. Plaintiffs are citizens of Pennsylvania. SeeExhibit "A" at W 1-2.

         10.    Upon infolmation and belief, The Container Store, Inc. is a corpolation formed and

existing under the laws of the State of Texas, with its principal place of business in Texas. See

Answer of The Container Store to Plaintiffs' Complaint, attached hereto as Exhibit "D," at ii 3,

State of Texas Franchise Tax Account Status for The Container Store, Inc., attached hereto as

Exhibit "E", see also 28 U.S.C. § 1332(c)(1) (defining citizenship of a corporation).

         11.    Defendant BASE4 Group, Inc. was a corporation formed and existing under the

laws of the State of Delaware, with its principal place of business in Texas. See Exhibit "A" at 11



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41, see also State of Texas Franchise Tax Account Status for BASE4 Group, Inc., attached hereto

                 as
as Exhibit "F.

        12.           BASE4 Group, Inc. is now known as BASE4 Ventures, LLC. See Affidavit of

Johnathan Filipski, attached hereto as Exhibit "G," at 1]2.

        13.           BASE4 Ventures, LLC ("BASE4") is a limited liability company that was formed

in the State of Texas, and that has its principal place of business in Addison, Texas. See                      at 'W

4-5.

        14.           However, the citizenship of a limited liability company, such as BASE4, is

determined by the citizenship of each of its members. See Johnson v. Smithkline Beecham Corp.,

724 F.3d 337, 347-48 (3d. Cir. 2013), Zambelli Fi1'ewo1ks Mfg. Co. V. Wood, 592 F.3d 412, 420

(3d Cir. 2010).

        15.           Where an LLC has, as one of its members, another LLC, "the citizenship of

unincolporated associates must be traced through however many layers of partners or members

there may be" to determine the citizenship of the LLC. Zambezi, 592 F.3d at 420.

         16.          While the membership st1'uctu1°e of BASE4 is a bit complex, consisting of several

layers of LLCs, it culminates in three individuals, all of whom are citizens of Texas.

         17.          BASE4 Ventures, LLC has a single member: AXE Holdings, LLC.

         18.          AXE Holdings, LLC in turn has three members: JBF Holdings, LLC, MWPP,

LLC, and Silvextip Ventures, LLC.

         19.          JBF Holdings, LLC has a single member: Jonathan B. Filipski, an individual and

a citizen of the State of Texas.



1 Plaintiffs allege that BASE4 Group, Inc. has its principal place of business in Dallas, Texas, which was true until
2007. See Exhibit "A" at 114. Beginning in 2007, BASE4 Group, lnc.'s principal place of business was in
Cairollton, Texas. It is undisputed, however, that BASE4 Group, Inc. had its principal place of business in Texas,
and not in Pennsylvania.

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       20.     MWPP, LLC has a single member: Mark Parker, an individual and a citizen of

the State of Texas.

       21.     Silvertip Ventures, LLC has a single member: BD Capital Management, LLC.

       22.     BD Capital Management, LLC has a single member: Brad Berkley, an individual

and a citizen of the State of Texas.

       23.     Therefore, for jurisdictional purposes, BASE4 Ventures, LLC is a citizen of

Texas, and not of Pennsylvania.

       24.     Because Plaintiffs are citizens of Pennsylvania, and Defendants are citizens of

Texas, diversity of citizenship exists in this case.

III.    The Amount in_Controversy requirement is mgt..

        25.    BASE4 believes that the amount in controversy, exclusive of interest and costs, is

in excess of the jurisdictional minimum of$75,000. See 28 U.S.C. § 1332, see also Dalt

Cherokee Basin Operating Co, LLC V. Owens, 574 U.S.             9
                                                                    135 S. Ct. 547, 553-54 (2014)

(requiring a notice of removal to "include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold" and clarifying that jurisdictional discovery must

be allowed if a good faith asseition is challenged).

        26.     Plaintiffs' Complaint alleges that Plaintiff Gena Alulis has sustained a fracture of

the distal phalanx of her left foot, left ankle tibialis, anterior tibial syndrome left leg, and a

compensation injury to her right leg, knee and ankle. SeeExhibit "A" at 1] 11.

        27.     Plaintiffs allege that Mrs. Alulis's injuries are "severe" and "pelmanent." See

        28.     Indeed, Plaintiffs have presented records documenting medical treatment lasting

over a year.

        29.     Plaintiffs are also seeking to recover for past and future wage loss. See        at 1] 13.



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           Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 5 of 99



       30.     While Mrs. Alulis's wage loss claim has not yet been quantified, her medical

records identify her occupation as "CEO," suggesting that her wages may be higher than

average.

       31.     Plaintiffs' Complaint demands judgment in excess of $50,000, the jurisdictional

threshold to remove the case from the Court of Common Pleas' arbitration program. See Exhibit

CGAW' Phila. Civ. R. 1301.

       32.     In a conversation among counsel, Plaintiffs' counsel would not stipulate that the

amount in controversy was $75,000 or less.

       33.     Based on the above-described facts, BASE4 in good faith believes that the

amount in controversy, exclusive of interest and costs, exceeds $75,000. See Dart, supra., see

also Columbia Gas Transmission Corp. V. Tarbuck, 62 F.3d 538, 541 (3d Cir. 1995) (amount in
                                                          "to a legal certainty" that the claim is really
controversy requirement is satisfied unless it is clear

for less than the jurisdictional amount).

IV.    BASE4 ha_§ complied with all proce_dural requirements for_ removal..

        34.       Because Plaintiffs and Defendants are citizens of different States, and the amount

in controversy exceeds $75,000, exclusive of interest and costs, this Could has original

jurisdiction over this civil action pursuant to 28 U.S.C. § 1332.

        35.       The filing of the instant Notice of Removal is timely as it is filed within thirty

(30) days of service of the Complaint on BASE4. See 28 U.S.C. § 1446(b)(1); see alsoExhibit

"B" (Complaint served on BASE4 on May 17, 2019).

        36.       Co-Defendant The Container Store has consented to this removal. See28 U.S.C.

 § 1446(b)(2)(A), see also Co11°espondence from counsel for The Container Store, attached hereto
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 as Exhibit "H.



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          Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 6 of 99



         37.   This action may be removed to this Court pursuant to 28 U.S.C. § 1441 (a) because

this case was initially brought in a state court within the geographical area of the Eastern District

of Pennsylvania, and because this Court has jurisdiction pursuant to 28 U.S.C. § l332(a).

         38.   Written notice of the filing of this Notice of Removal has been given to all adverse

parties in accordance with 28 U.S.C. § l446(d), and is noted in the Certificate of Service attached

hereto

         39.   Promptly after filing in this Court and the assignment of a Civil Action Number, a

Notice of Removal will be filed with the Court of Common Pleas of Philadelphia County, in

accordance with 28 U.S.C. § l446(d).

         40.   A copy of all pleadings, process, and Orders in this served upon BASE4 in the state

court action are attached hereto. These consist of the aforementioned Exhibits "A," "B," "C," and

"D," as well as additional documents that are collectively attached hereto as Exhibit "L"

         WHEREFORE, Defendant BASE4 Ventures, LLC hereby removes this action from the

Court of Common Pleas of Philadelphia County to the United States District Court for the Eastern

District of Pennsylvania.

                                               Respectfully submitted,

                                               MARSHALL DENNEHEY WARNER
                                               COLEMAN & GOGGIN


                                               B Y:
                                                      MICHAEL A. SALVATI
                                                       Attorney for Defendant
                                                       BASE4 Ventures, LLC,
                                                       f`o1'me11y known as BASE4 Group, Inc.
                                                       2000 Market Street, Suite 2300
                                                       Philadelphia, PA 19103
                                                       215-575-4552 (P) / 215-575-0586 (F)
                                                       masalvati@mdwcg.com



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         Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 7 of 99



                                CEBTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the forgoing Notice of Removal was served

this date, via United States Mail, to the following persons:

                                          Brad S. Rush
                                    KOVLER & RUSH, P.C.
                                123 South Broad Street, Suite 2250
                                     Philadelphia, PA 19109

                                      James J. Green
                                       Eric S. Gibbs
                          BARDSLEY BENEDICT + CHOLDEN, LLP
                               1600 Market Street, Suite 1310
                                  Philadelphia, FA 19103



                                              MARSHALL DENNEHEY WARNER
                                              COLEMAN & GOGGIN


                                              BY:         ¢214 71/1 _       M
                                                         NET M. SMITH
                                                        dministrative Assistant to
                                                      MICHAEL A. SALVATI
                                                      Attorney for Defendant
                                                      BASE4 Ventures, LLC,
                                                      formerly known as BASE4 Group, Inc.

DATED :     49 IQDIM
Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 8 of 99




          EXHIBIT A
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                                                                                    M. BRYANT

    TO THE PROTHONOTARY :
    Kindly enlermy appearance on behalf ofPlah1tifT/P etltlonem'/Appel!ant: GENA ALUL1S_, PAUL ALULIS
    Papers may be smvod no the address set forth below.

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                                                                                        Attorney for P]u°miilils                    83'r 482'1q
            BY: BRAD s. RUSH, ESQUIRE                                                                                               M,*£/g({lg¢9.
             Acty.lD NO.: 72896
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            PAUL ALULIS                                                       4
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                           v.                                                 I0
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                THE CONTAINER STORE, INC.                                     \

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                Coppell, TX75019
                              and                                             |
                BASED GROUP, INC.
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                14001 N. Dallas Parkway, Suite 506                            I
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            123 South Broad Street, Suite 2250
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            FAUL ALULIS                                       4

            2101 Mawlcet Street, #3901                        r       CIVIL ACTION --LAW
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            1'hiladelphin, PA 19103
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            THE CONTAINER STORE, INC.
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                                                              In
            500 Freeport Pkwy #100
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            Coppell, TX 75019
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            BASE4 GRGUYJNC.
            14001 N. Dallas Purluvay, Suite $06
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            Dallas, TX 75240


                                                CIVIL ACTION COMPLAINT

                                                     QQUNT I
                                    GENA ALULIS v. THE CONTAINER STORE, INC.
                                                    (Negligence)


                       1.      Plaintiff, Gcma Alxxlia, is an adult individual residing at the above-captioned

                address and at all times relevant hereto, was the wife ot Pla3n1iEF, Paul Alulis.

                       2.      Plaintiff, Pau! Alulis, is an adult Individual residing at 'die above-captioned                               I
                                                                                                                                             f
                address and at all times relevant hereto was the husband of PlaintLf£ Gena Alulis.                                           1
                       3.      Defendant, The Contuinel' Store, Inc., is a cmporatlon or other business entity

                organized and existing under the laws of the Commonwealth of Pennsylvania with a principal
                                                                                                                                             g
                place of business located at the above captioned address.

                       4.      Defendant, Base4 Group, Inc., is a corporation or other bushloss entity organized                             i
                and existing under the laws of the State of Texas with a pr'mcipal place of business located at the                          E
                                                                                                                                             E
                above captioned address,                                                                    Case ID: 190400616               I
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Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 12 of 99




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         5.      At all times relevant hereto, Defendants were: in the business of 1nanufao1uuing,
                                                                                                                      I
 selling, packaging and/or dlstrlbutiug magnetic knife racks and in palllcular the Bamboo

 Magnetic KNIFEstrip involved in this accident

        6.       At all times 1'c1<¢vant hereto, Defendant, The Container Store, Luo., by their agents,

 servants, worlcmexl or employees, acting in the scope of pitch* authority, owned possessed and

 controlled the premises located at 650 W Dekalb Pike, King ofPruosie, PA 19406.            .

        7.       On or about July 5, 2017 at approximately 6:00 p,m., Plaintiff, Gena Alulis, while

Iawfilliy OI! Defendant premises located 650 W Dekalb Pike, King of Prussia, PA 19406, was

iniuxed as n result of being struck on the foot by an Based Group, Inc. Bamboo Magnetic                           I

I<NT[FEstvip Which was in a dangerous and defeoiive condition to patrons on the premises, :md

whloh said Magnetic KNIFBstrip caused said accident which resulted in Pla'mOl°E Gene Alulis, to

suffer severe and pemiancnt personal hajuiies more fully descObod hereinafter.

        8,      It was at the above time and place that the Plainli8lwas shopping at the Coniaiuel'

Store where the display containing knife racks are located. Plaintiff was examining the bamboo

life strip holder when the item slipped Nom the improperly sealed caftoo and struck plaintiff on

her foot. Said item was not properly packaged and/or was not pxopeliy scaled and/01' was not

properly displayed.

       9.       At the time fund place aforementioned, Defendant, The Conta'm@r Store, In., by

their agents, servants, wolkmen or employees, acting in the scope of their authority, were

negligent in:

                H)     creating & dangerous condition bY improperly storLtlg/displaying the

                       Base4 Group, Inc. magnetic KNIFE3€x'lp;                                                             g

                                                                                                                           I
                b)     allowing a dangerous condition to refrain by displaying the magneto                                 I
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                       KN1FBstrip in irnpropomiy sealed packages;
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                                whiling to warn of a dangerous condition of improperly packaged and                      II
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                                improperly storing and displaying the magnetic KNT3?Estrlps;
                                                                                                                              s




                        d)      failing to properly maintain the premises by improperly storing and                           E




                                displaying the Magnetic KNJFBstrips;

                        8)      failing to provide adequate precautions to warn patrons of improperly

                                stored and packaged maguetio KNlFEstrlps;

                                M8intaim'ng premises in violation of the rights of Plaintiifas clesoribed

                                above,

                        8)      Filing to properly inspect the premises and locate hnproperly stored,

                               impropexiy packaged, 'and displayed items;

                        h)      Any and all acts ofuegligence which may be discovered pursuant to the

                               Pennsylvania Rules of Civil Procedure,

                10,     In the alternative, the Defendant, The Conta'mer Store, Inc,, by their agents,

        servants, worlcmeu or employees, acting in the course and scope of their nuthonfty, wane in the

        sole and exclusive possession, management, care, maintenance and eonttol of the object causing

        Plai.ntift€s' personal 'mjulie9, thereby having exclusive and superior knowledge of the cause of the

        accident hereinabove alleged.                                                                                                     g


               11.     Solely as a result of the negilgence of the Defendant as aforesaid, Plainilfii Gene                                E

        Afulis, suffered severe physical injuries including but not limited to n displaced 8"aotu1'e of distal
                                                                                                                                          f
        phalanx of toe lei? foot, lai foot pain, left anlde tibiulls, anteliox' tibial syndrome left leg,                             3
        compensation injury to right leg, knee and ankle, some or all of which may he pexzmaneut 'm
                                                                                                                                      3
        nature causing her great pain and Huffehing,

               12.     As n result of Dofcmlants, The Container Store, Inc. and Base4 Group, Inc.'s

        conduct, individually and collectively hereluuRer descrlbecl, Pla'mtiff, Oona Alulis, has suffered                            3
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        and incurred great pain and nzentd anguish and is malting a Glalln for same.
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              13,        As a result of the D¢fe~nd8nts, The Containol' Store, Inc, and Base4 Group, In,'s                 i

     conduct as hereinafter described, Plalntjfli Gena Alulis, has 'mcuzwcd medical bills, past and

     tillie wags loss and makes 0 claim for same as well as other clamages recoverable under law.

              14.       As a result of the Defendants, The Container Store, Inc. and Basel? Group, Irlc.'s

     conduct, time is a healihcate lien, Plaintiff, Gena Aiulis and her subrogate, make u claim for

     same.

              15.     Plaintiff Gena Alulis, hereby claims all damages recoverable under law for the
                                                                                                                                       I
     irgiurles and lien hex'elnafTel' descl'lbed.

             WI-IEREFORE, Plaintifl§ Gena Alulis, demaniis judgment in her favor against

    Defendants, The Container Store, Inc, and Base4 Group, Inc., intllviduafly and collectively, in
                                                                                                                                       I
    the amount in <:xcess of Fifty Thousand ($S0,000.00) Dollars plus interest, cost of lidgution and

    delayed damages.
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                                              .COUN1' ll
                          GENA ALULIS v. and THE CONTAINER STORE, INC.
                                    AND BASED GROUP, mc.
                                      (Strict Product Liability)


             16.     Plnintl8 hereby incorporating reference paragraphs 1-15 as though fully set forth

    herein at Icngth.

             17.    The accident of July 5, 2017 and the 1esult'mg personal injuries sustained bY

    Plaintiff; Gena.A1uLis, were caused by the actions and/or inactions of Defendants, individually

    and collectively, tho1@fo1'e they are strictly liable as follows:

                    H)        Designing, fabl'lcatJng, mmlufaoturing, distributillg and/or selling

                              the magnetic KNIFBsh'ip in an unreasonably dangerous condition,
                                                                                                                                   I
                    b)        Designing, fabricating, manufacturing, dlstribut'mg and/or selling

                              the magietlo KNIFEstrip without all necessary warnings, safety
                                                                                                                                   g
                             equipment and necessary safety elements;
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                 G)      Designing, fabticatiug, manuflactul'lng, dist1ibuting and/or selling

                         the magnetic I(Zn]FEstrip without proper packaging;

                 d)      Failing to adequately warn consumers Including Pleirxtitf of the dangerous

                         and dsfeotive conditions;

                 G)      Any and all acts of negligence which may be discovered pursuant to the

                         Pennsylvania Rules of Civil Procedure.

         18.    As a d'u'ect, proximate and foreseeable result of the Defendants improper acts and

 omissions, Plaintiff suffered lnjuties hereina8e1' described.

         WI-IERBFORE, PlatntiE€ Gcua Alulis, demands judgment in her favor against

Defendants, The Container Store, Inc, and Base4 Group, Inc., individually and collectively, in an

 amount in excess of Flinty Thousand ($50,000.00) Dollzus plus interest, cost of litigation and

 delayed damages.

                                        COUNT111
                      GENA ALULIS v. Tim CONTAINER STORE, INC. and
                                       BASE4 GROUP, ETC.
                                       (Breach of Wa1'1'nnty)



        19.     Pla'mti1'f incorporates by rcfewnca the allegations contained in paragraphs 1-18 as

though each were fully set forth at length herein.

        20.     Defendants, individually and collectively, expressly and impliedly warrant that

the magnetic lG\IIFBsh'ip was of merchautalale quality, fit, safe and in proper condition for the

ordinary use for which it was designed and to be displayed and used.

        21.    Plahmtiff relied upon Defendants skill and judgment and the implied warranty of

merchantability as well as the express warranties made.

        22.     The magnetic KI<IIFBsf.rlp as designed, fabrloaied, manufaotuld, distributed

and/01' sold was not of mol'cllantablc quality and was unfit, uusafs and unusable for the ordinary

purpose for which it was intended subject'mg P1ainHH?to great harm and danger.
                                                                                                Case ID- 190400616
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             23.    By reason of the foregolug, Gena Alulis suffered injuries and damages l\e1'einaftel                      I
                                                                                                                             I
     described.

             WHEREFORB, Plaintiff; Gena Alulis, demands judgment in her favor against Defend ant,

     The Container Store, Io. and Base4 Group, Inc., individually and collectively, in the amount in
                                                                                                                             f
    excess (if Fifty Thousand ($50,000.00) Dollars plus interest, cost of litigation and delayed

    damages.

                                         COUNT IV
                       GENA ALULIS v. THE CONTAINER STORE, INC. and
                                           BASE4 GROUP, INC.
                                          (Bodily Injury Dam ages)


            24.     Pla{nli3` incolpolates by 1'efle1'ence the allegations contained In pamgwph0 1-23 as

    though 6th were fully set forth horolu at length.

            25.     Solely as a result of the negligence of the Defendant as aforesaid, PIalntiH§ Gena
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    Alulis, suffered severe physical i1;iu1'ies including but not Iinlited to a displaced 8'actu1'e of distal

    phulenx of toe left foot, 168 foot pain, left ankle tibialis, atltel'lor tibia! syndrome lai leg,

    compensation injury to right leg, knee and ankle, some ox all of which may be permanent in

    nature causing had great pain and sMfer'mg.

            26.    As a result of Defendant, The Container Store, Inc, and Base4 Group, Inc.'s

    conduct, individually and collectively hereinafter described, Plaintiff, Gena Alulis, has suffered

    and incurred great pain. and mental anguish and fs making 8 claim for same.

            27.    As e result of the Defendant; The Container Store, Inc. and Basely Group, Inc.,

    conduct as hereinafter described, Plalnti8, Gena Alulls, has incurred medical bills, past and

    future wage loss and makes a claim for same as well as otller damages recoverable under law.
                                                                                                                        I
            28.    As a result of the Defendant, The Container Store, Inc. and Base4 Group, lnc.'s

    conduct, there is a healthcare lion, PlalmtifG Gena Alulis and het subrogate, make a claim for

    same.
                                                                                                   Case ID: 190400616
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        pa      FIaintifl§ Gena Alulis, hereby Claims all damages reoovel'able under law for the                     3
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injuries and lien hereinafter descmlbed.
                                                                                                                     I
        WI-IBIUZFORB, Plaintiff, Gena Alulis, demands judgment 'm hor favor against

Defendants, The Couiuiner Store, Inc. and Based Group, Inc., 'mdivlduully and collectively, in an                    l

amount in excess of Fitly Thousand ($50,000.0(}) Dollars plus interest, cost of litigation and

delayed, daxnages.

                                 COUNT. V.
      PAUL ALULIS v. THE CONTAINER STORE, INC. and BASED GROUP, INC.
                             (Conso1°t.ium Claim)


        30.     Plaintilffls hereby incorporate by rsfeuenlce palagrapbs 1 through 29 as though fully

say forth herein at length.

        31.     As a direct and proximate result of the aforementioned 'mjlwies suffered by his

w}fe, plaintiff Paul Alulis, suffered a loss of sex, society, services, companionship and

consortium of his wife, all to his great detriment and loss.

        WHERBFORB, Plaintiff, Paul Alulis, demands judgment against defendaxxts, The

Contahmr Store, Inc. and Bascom Group, Inc., jointly and severally, in an amount in excess 01°

Fifty Thousand ($5 D,000.00) Dollars.



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                                                     BRA1> s. 1&1sH
                                                     Attorney for Plaintiffs



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                                                  YERIFICAMQN

                        The undersigned, being duly swot according to law, deposes and says that he is counsel for

                The patty or parties 'Medicated on the preceding pages as being represented by said counsel, that he

                has exvmizlcd the pleading and the entire investigative file made on behalf of said party or palsies,             1

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                that Ne is taking this veri8cz11ion to assure compliance with the Peli'u.1ent mies peltaianhlg to 1:imely         I

                rifling of pleading and other documents described by said Lutes; and the facts set forth in the

                foregoing documents are true and comet to the best of his knowledge, 'mflol'matlon and belief. The

                undersigned understands that the statements tlmereiu are made subject to the penalties of 18 Pa. C.S.

                Seotlon 4940 relating to unsworn falsification to autholities.




                                                                        KOVLER & RUSH, 1>.c.



                Date'                                           BYz
                                                                        BRAD S. RUSH
                                                                        Attorney for Plainti83s




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                 KOVLER an RUSH, P.C.
                 BY: BRAD S. RUSH, ESQUIRE                               Aitoruay for Pluiulitfs
                 Atty. In NO.: 72896
                 123 South Broad Street, Suite 2250
                 Philndelplmia,Pennsylvania 19109
                 (215)735-5476
                                             .                 -r -
                 GENA ALULIS and                                         COURT OF comn71on PL1NA§                                         i
                 PAIJL ALULIS                                                                                                             z
                                                                  1      OF r1IU;4JJELrrU.A COUNTY                                        (
                 2101 Market Street, #3901                        I
                                                                         CIVIL ACTION 4- LAW
                 Philadelphia, PA 19103                           •I
                               y.                                  l\
                                                                   l4
                THE CONTAINER STORE, INC.                         4
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                500 Freeport Pkwy #100                            a
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                Coppell, TX 75019                                1
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                              and
                BASE4 GROUP, INC.                                n

                14001 N. Dallas Parlrwny, Suite $06              I4
                Dallas, TX 75240                                 |
                                                                 1


                                                QERTHQICATE 91§Q0MPLIAE_CE.


                         I, Brad S. Rush, EsqUire, attorney for P[ah1fi&§ hereby cel'tifies that this filing complies

                with the provisions of the Public Access Policy of the Unified Judicial System of Pennsylvania;

                Class Records of the Appellate and Trial Courts that lcquirc filing confidential information and

                documents differently th'an non-confidential information and documents,

                                                                KOVLER & RUSH, p.c.
                                                                                                                                                          I
                Dated:                                 BY:
                                                                BRAD S. -,_,__,EsQui12"'8`
                                                                Afiorxley for Plaintiffs                                                              I
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Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 20 of 99




           EXHIBIT
           EXHIBIT B
        Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 21 of 99




KOVLER & RUSH, P.C.
BY: BRAD S. RUSH, ESQUIRE                              Attorney for Plaintiffs
Atty. ID NO.: 72896
123 South Broad Street, Suite 2250
Philadelphia, Pennsylvania 19109
(215)735-5476
CENA ALULIS and                                         COURT OF COMMON PLEAS
PAUL ALULIS                                             OF PHILADELPHIA COUNTY
                                                        CIVIL ACTION - LAW
               v.
                                                                                             "Rx ":
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                                                                                             Lf) .       1
THE CONTAINER STORE, INC.                                                                    ...I ( *
                                                                                             (_. 1
          and                                           No.: 190400616                       (1
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BASE4 GROUP, INC.                                                                            LV
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                                   AFFIDAVIT OF SERVICE
                                                                                               C.
                                                                                               "Tl
                                                                                                  "1,!
       1.      I, the undersigned, Brad S. Rush, Esquire, am the attorney for the Plaintiff in the
above-captioned matter.
       2.      On May 9, 2019, I mailed a true and correct copy of the Civil Action Complaint
in this matter to Defendant, Base4 Group, Inc., at their last known address via regular U,S. mail
as well as via certified, return receipt requested bearing article number 7014 3490 0000 7868 8621 .
       3.      I am attaching a printout from USPS Tracking indicating that the Civil Action
Complaint was delivered on May 17, 2019.
       I hereby certify that the foregoing statements made by me are true. I am aware that if any
of the foregoing statements made by me are willfully false, I am subj ect to punishment


                                              K      LER & RUSH,


DATE: 53447                           BY:
                                                                                         \
                                              BRAD s. RUSH
Sworn and Subscribed                          Attorney for Plaintiffs
bette me this $14414      day
of` £Yl0w                 a2019.

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Notary ublic                                          Rh of Pennsylvania . Notary Seat
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         ALERT: PAYMENT TRANSACTIONS ON SOME APPLICATIONS WILL BE TEMPORARILY UNAVAI...

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   USPS Tracking

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           EXHIBIT
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              Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 24 of 99
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    PHILADELPHIA COURT OF COMMON PLEAS                                                                CONTROL NUMBER:
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                                                                                                 Name of Filing Party:
    OBNA ALULIS AND PAUL ALULIS
                                                                                                     BASE4 ventures, LLC (f/Ida BASB4 Group, Inc.)                                  .       II
                                                                                                                                                                                            I
                                       VS l                                                               (Check one]        E1 Plaintiff                E Defendant
    THE CONTAINER STORE. INC. AND BASB4 GROUP, inc.                                                       (Check one)        V Movant                    [J Raspnndcm                       :

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     Motion to Determine Preliminary Objections to Pla'mtiffs' Complaint                                                    DPROB
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         A. COMMERCE PROGRAM                                                      nuomey of record and unrcprcsonled party.)
         Name of Judicial Team Lcudcr:
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                                                                                  SEE COUNSEL LIST ATTACHED.                                                                                I
         Has deadline been previously exlondcd by the Court?
            D Yes          No
         B. DAY FORWARD/MAJOR JURY PROGRAM - Year
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        D. ARBITRATION PROGRAM                                                                                                       L/)          "U
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    By filing this docunwnl and signing below. the moving party cordflus Ihm this motion, pctltlon, answer Ur rusponso along with all documcnls Hlcd,
    will be served upon all counsel and unrcpmscmcd pnrlles as wquircd by rules of Coult (see PA. R.C.P. 206.6, Note Lu 208.2(a), and 440). Purthemzore,
    moving party verses that the amwors made hcreln Ana lruc and connect and understands that snncllons may be imposed for innccuratc or Incomplete
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                                                                          /4, /, 'i                        Mlolmael A. Salvati                            311682
         (Allurney Signalure/Unrepreseul¢'d Party)                          (Dare)                        (Prlnl Name)                                  (Arrorimy I.D. No.)
    The Potitlon,Motion and Answeror Resllonse,lfauy, wlllbeforwurdedto the Courtafter tl\eAnswer/ResponseDute.
    No extension of theAnswer/ResponseDatewill begrunted even lftlnepartiesso stipulate.
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                                                                                                                COUNSEL LIST                                                                                                                       I




                                  Brad S. Rush, Esquire                                                                                                                                                                                   I
                                  Kovler & Rush, P.C.                                                                                                                                                                                     s

                                  123 South Broad Street
                                  Suite 2250                                                                                                                                                                                              .

                                  Philadelphia, PA 19109
                                  215-735-5476
                                  Attorney for Plainltj"

                                  Michael A. Salvati, Esquire
                                  Marshall Dennehey Warner Coleman & Goggin
                                  2000 Market Street, Suite 2300
                                  Philadelphia, PA 19103
                                  215-575-4552
                                  Atforneyfor Defendant, BASE4 Ventures, LLC
                                  0'/k/a BASE4 Group, Inc.)
                                                                                                                                                                                                                                          g


                                   James J. Green, Bsquiw                                                                                                                                                                                 i

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                                   Eric S. Gibbs, Esquire
                                   Bardsley, Benedict & Cholden, LLP                                                                                                                                                                      i
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                                   1600 Market Street
                                   Suite 1310                                                                                                                                     \                                                       I
                                   Phlladelphia PA 19103
                                   215~977-4133
                                   Attorneys for Defendant, The Container Store, Inc.




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                                      Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 26 of 99
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                                GENA ALULIS and                                                                                    I
                                                                                                                                   I   COURT OF COMMON PLEAS
                                PAUL ALULIS                                                                                        0   PHILADELPHIA COUNTY
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                                                                                                                                   I   CIVIL ACTION LAW
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                                                                                                                                   •   APRIL TERM, 2019
                                                                                                                                   o
                                THE CONTAINER STORE, INC. and                                                                      4

                                BASE4 GROUP, INC.
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                                                                                                                                   |   NO. 616
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                                                  AND now, this                        .                                  day of                           , 2019, upon consideration of'

                                 the Preliminary Objections of Defendant BASE4 Ventures, LLC (fomxerly known as BASB4

                                 Group, Inc.) to Plain1iHls' Complaint, and any response thereto, it is hereby ORDERED and

                                 DECREED that said Preliminary Objections are SUSTAINED.

                                                  IT IS FURTHER ORDERED that all claims and cross-claims against BASE4 Ventures,
                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                              I
                                 LLC (formerly known as BASE4 Group, Inc.) are hereby DISMISSED due to this Coln't's lack

                                  of personal jurisdiction over said Defendant.

                                                                                                                                       BY THE COURT:




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                                                                                                                TO            Plalndffs                        --
                                                                                                                              You are hereby imotifiud to plead to the enclosed
                                                                                                                              PreUlnlnary Objections within twenty (20) days                                                                    I
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                                                                                                                              iTem the date of service hereof or a default                                                                  !
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                                                                                                                              MICHAEL A, SALVATI                                                                                                                     i
                                                                                                                                                                                                                                                E
                                                                                                                              Attomcy for Defendant,
                                                                                                                              BASE4 Ventures, LLC.
                                                                                                                              Formerly known as BASBA Group, Inc.                                                                               !
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         MARSHALL DENNEHEY WARNER
         COLEMAN & GOGGIN                                                                                                                                                                                                                           i
         BY: NfICI"L4iEL A. SALVATI, ESQUIRE
         Attorney ID. No. 311682
         2000 Market Street, Suite 2300                                                                         Attorney for Defendant
         Philadelphia, PA 19103                                                                                 BASE4 Ventures, LLC,
         215-575-4552 (P)                                                                                        formerly known as BASE4 Group, Inc.
         215-575-0856 (F)
         masalvati@mdwcg.com
         ».._»-


         GENA ALULIS and                                                                       t                 COURT OF COMMON PLEAS
         PAUL ALULIS
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                  v.                                                                            0
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         THE CONTAINER STORE, INC. and                                                          Q

         BASE4 GROUP, INC.
                                                                                                |
                                                                                                l                no. 616

                                                     PRELIMINARY OBJECTIONS
                                                 OF DEFENDANT BASE4 VENTURES, LLC
                                                                                                                                                                                                                                                        I
                                                FORMERLY KNOWN AS BASE4 GROUP, INC.
                                                     TO PLAINTIFFS' COMPLAINT                                                                                                                                                                           I

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                  BASFA Ventures, LLC (formerly mown as BASE4 Group, Inc.) (hereinaiier referred to

         as "BASEA"), by and through its attorneys, Marshall Donnehey Water Coleman 84 Goggin,                                                                                                                                                          E

         hereby preliminarily objects to Plal'ntiffs' Complaint for lack of personal jurisdiction.                                                                                                                                                      E
                  BASE4 is a Texas company that sold a product to The Container Store, another Texas                                                                                                                                                        3
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          company. The product W8S shipped from BASB4 in Texas to The Container Store 'nt Texas.                                                                                                                                                         I
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          Because BASFA's conduct occurred entirely within the Lone Star State, the courts of                                                                                                                                                            ;
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          Pennsylvania lack personal jurisdiction to hear Plaintiffs' clams against BASE4 'm this case,                                                                                                                                                 31
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                                In further support of its preliminary objections, BASE4 avers as follows'
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                    I.          Factual Background

                                1.         In this product liability action, Plainti8ls Gena and Paul Alulis allege that Mrs.

                    Alulis was shopping at The Container Store in King of Prussia, Pennsylvania, when a Magnetic

                    KNIFEstrip fell on her foot, brealdng her toe and causing other injuries. Seq Plainti8ls'

                     Complaint, a copy of which is attached hereto as Exhibit "A," at111]6-8, 11.

                                2.          The Magnetic KNII*Es11~ip, depicted below, is a rectangular block of wood that

                     contains embedded magnets to safely store ldtchen cutlery:




                                 3.          As against BASE4, Plaintiffs allege that the Magnetic KIN1'FEstrip was

                      unreasonably dangerous, defective, and u merchantable. 899 Exhibit "A" at Count H (asserting                                                                                                                |
                                                                                                                                                                                                                                  Ii
                      strict product liability and breach of warranty claims).

                                  4.         BASFA is a limited liability company formed and existing under the laws of the

                      State of Texas. Seq Exhibit "A" at1]4; 9 M                               Affidavit of Jonathan Filipski, attached hereto as

                     .Exhibit "B," at114.

                                  5.         BASE4has its principal place of business in Addison, Texas. -SQ Eudlibit "B" at

                      1151


                       ' While Plaintiffs lncoxrectly allege that BASI34 has its principal place of business in Dallas, Texas, see Exhibit "A"
                       at1]4, it is undisputed that BASE4 docs go have its principal pIece of business in Pennsylvania.
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                                             6.                 Plaintiffs do not allege that any conduct or omission ofBASE4 giving rise to this
                                                                                                                                                                                          at1[1]10-14
                             action occurred in Pennsylvania. 382 eenerallv Exhibit "A"; s-9-g also Exhibit "B"                                                                                                                                             E
                                                                                                                                                                                                                                                            i
                             (describing BASE4's interactions with the subject product, which did not occur in Pennsylvania).                                                                                                               .               I
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                                             7.                 To the contrary, while BASE4 does sell and ship Magnetic lO*JlFEstrips to The                                                                                               I

                             Container Store, all such products are sold and shipped to The Container Store's distribution                                                                                                                      s




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                             center in Coppell, Texas. 839 Exhibit "B" at 111] 10-14.                                                                                                                                                           I




                                                 8.             BASB4 is not registered to do business in Pennsylvania. See Exhibit "B" at117.                                                                                              I   I


                                                 9.              BASE4 has not consented to jurisdiction 'm the costs of this Commonwealth.

                             .s@.@4ar18.

                              II.                Preliminary Objection - Motion to Dismiss for Lack of Personal Jurisdiction

                                                 10.             BASE4 incorporates by reference the averments of paragraphs 1 to 9 above, as

                              though the same were set forth fully herein at length.

                                                 11.             The Rules of Civil Procedure provide that a party may 81s preliminary objections

                               to a pleading on the basis of a lack of personal jurisdiction over that party. Pa. R.C.P.

                               1028(8)(1)»

                                                 12.             This Court's assertion of personal jurisdiction over a defendant is governed by the
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                               Due Process Clause of the 14th Amendment to the U.S. Constitution. Qoodyear-Dun]op Tiggg
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                               Qps.. S.A. V.. Brown, 564 U.S. 915, 918-919 (2011) ("A state court's assertion ofjurisdiction                                                                                                                        II
                                exposes defendants to the State's coercive power, and is therefore subj ect to review for

                                compatibility with the Fourteenth Amendment's Due Process Clause,") (citing International

                                shoe Co_. v. Washington, 326 U.S. 310, 316 (1945))3 §9§ also W alden v, Fiore, 571 U.S. 277, 283

                                (2014) ("The Due Process Clause of the Fourteenth Amendment constrains a State's authority to




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            bind a nonresident defendant to judgment of its coul'ts.") (citing World-Wide Volkswagen

            Corp. v. Woodson, 444 U. S. 286, 291 (1980)).

                         13,         The exercise of personal jurisdiction permitted by the Due Process Clause may be                                                                                                          1
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            categorized as "general jurisdiction" or "speci'dc jurisdiction," and depends on the nature and

            quality of the defendant's contacts with the forum state. §§g, e.g.,Bristol-Myers Squibb Co. v.

            Superior Court, L37 S.Ct. 1773, 1779-80 (2017) (contrasting general and speoiiic jurisdiction);

            City ofPhiladelphia V. Borough of Westville, 93 A,3d 530, 532-33 (Pa, Commw. 2014) (same).

                         14,         In this matter, the courts of Pennsylvania may not exercise general or specific

            jurisdiction over BASE4.

                         15.         "General" or "all purpose" jurisdiction permits a court to exercise jurisdiction over

            a defendant 011 any cause of action, whether or not that cause of action arose in the forum state.                                                                                                                IIf
                                                                                                                                                                                                                              :

            899Bristol-Myers Squibb Co. v. Superior Court, 137 S.Ct. 1773, 1779~80 (2017); City of

            Philadelphia v. Borough of Westvillq, 93 A.3d 530, 532-33 (Pa Commw. 2014).                                                                                                                                        I
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                                     For general jurisdiction to be appropriate, the defendant must be "at home" in the                                                                                                       II
                         16.                                                                                                                                                                                                   f
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            forum state.

                         17.         Although many earlier cases had focused on quantifying a defendant's business

            contacts with the proposed forum, the United States Supreme Court recently rejected the                                                                                                                                      I
            argument that a defendant company could be subj et to general jurisdiction simply because it

            "engages in a substantial, continuous, and systematic course of business" in the forum state. See

            Daimler AG v. Bauman, 571 U.S. 117, 137-38 (2014) (holding that such a standard for general                                                                                                                                      I




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            jmirisdiotion would be "unacceptably g7'asping"),                                                                                                                                                                            ;



                         18.         Rather, the general jurisdiction inquiry focuses O11 where a defendant is "fairly                                                                                                                   i

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            regarded as at home," i.e. the defendants state of incorporation and the state where it maintdus                                                                                                               s
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                 its principal place of business. §e3. in at 138-39 ("Accordingly, the inquiry under Goodvea;is
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                 not whether a foreign corporations in-fomm contacts can be said to be in some sense 'continuous
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                 and systematic,' it is whether that corporation's affiliations with the State are so continuous and

                 systematic as to render it essentially at home in the forum State.") (internal quotations omitted).

                         19.       Although the language ofDaimler. speaks 'm terms of corporations, its reasoning

                 applies to LLCs as well. _S_qqDaimler, 571 U.S. at 139 (considering state of incorporation and
                                                                                                                                                                                                                                          I
                 principal place of business of both corporate defendant and LLC defendant for purposes of

                 evaluating exercise of general jurisdiction); Finn v. Great Plains Lending, LLC, 2016 U.S. Dist.

                 LEXIS 21558, *6-*7 & n.3 (ED. Pa. 2016) (reasoning ofDaimler applies "with equal force" to
                                                                                                                                                                                                                                            I
                 both corporations and LLC's);Ismail \{, Volvo Group North America. LLC, 2017 Phila. Ct. Com.
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                 Pl. LEXIS 366, aft"d w/o op. 188 A.3d 494 (Pa. Super. 2018) (same).                                                                                                                                                   .i.;
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                        20.        BASE4 is a Texas limited liability company with its principal place of business in

                 Texas; it cannot fairly be said to be "at home" 'm Pennsylvania, and therefore it is not subject to
                                                                                                                                                                                                                                      I
                 general jurisdiction in this state. SeeExhibit "B" at1i1l4-5 .
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                        21.        Nor can this Court exercise speciiicjurisdiction over BASEA 'Ln this matter.                                                                                                                        :I

                        22.        "Specific" or "case-linked" jurisdiction depends on an affiliation between the

                 forum and the underlying controversy; in other words, the activity or occurrence that gives rise to

                 the cause of action must take place in the forum stale to be subject to the State's regulation. See
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                 Bristol-Mvers Squibb, 137 S.Ct. at 1779-80; City ofPhilad¢1ohia, 93 A.3d at 533.                                                                                                                                      1.




                        23.        Although Plaintiffs apparently reside in Pennsylvania, that fact alone does not

                 create jurisdiction over BASEA. See Walden, 571 U.S. at285 ("But the pla.inti8` cannot be the

                 only link between the defendant and the forum. Rather, it is the defcndanfs conduct that must                                                                                                                         i



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                             form the necessary connection with the forum state that is the basis for its jurisdiction over                                                                                                                            -1

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                                             24.             Rather, because Plaintiffs' cause of action does not arise from any conduct of                                                                                                            s


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                             BASE4 in or directed to Pennsylvania, the courts of Pennsylvania may not exercise specific

                              jurisdiction over BASE4 in this case. $32 enerall Exhibit "A"; §.Q§. also Exhibit "B" at 'W 10-

                              14.
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                                              25.            Because the Court lacks personal jurisdiction over BASE4 in this matter, all                                                                                                               I



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                              claims against it must be dismissed?
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                                              WHEREFORB, Defendant BASE4 Ventures, LLC mspecEully requests that this                                                                                                                                       I
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                              Honorable Court sustain its Preliminary Objections and dismiss the claims against it, in

                               accordance with the proposed Order attached hereto .
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                                                                                                                             MARSHALL DENNEHEY WARNER
                                                                                                                             COLEMAN & GOGGIN



                                                                                                                             BY:
                                                                                                                                         MICHAEL A. SALVAT I
                                                                                                                                         Attorney for Defendant,
                                                                                                                                         BASE4 Ventures, LLC,
                                                                                                                                         formerly known as BASE4 Group, Inc.
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                                2 Some cooNs in Pennsylvania have rocogMzed implied consent as a third means of establishing personal                                                                                                                              :
                                                                                                                                                                                                                                                                   I
                                jurisdiction over a corporate defendant. For example, a recent decision of the Superior_Court, Webb-Benlandn, LLQ
                                V. Im'l Rug Grp., 192 A.3d 1133 (Pa. Super. 2018), suggests that when a company registers to do business in
                                Pennsylvania, it implicitly consents to be sued in Pennsylvania for any cause of action that arises anywhere in the
                                 world. This issue is currently being considered by the Superior Court in QL; in Mummy v. American L0Franco,                                                                                                                       .
                                LLC, Case No. 2105 EDA2016. However, because BASE4 is not registered to do business in Pennsylvania, go;
                                Exhiblt "B" at1[1l7-8, personal jurisdiction may not be established on the basis of consent.                                                                                                                                       I
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              Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 33 of 99
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        MARSHALL DENNEHEY WARNER
        COLEMAN & GOGGIN                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                             Is
        BY: MICHAEL A. SALVATI, ESQUIRE
        Attorney ID. No. 311682
        2000 Market Street, SlLitG 2300                                                                                         Attorney for Defendant
        Philadelphia, PA 19103                                                                                                  BASE4 Ventures, LLC,
        215-575-4552 (P)                                                                                                        formerly known as BASE4 Group, Inc.
        215-575-0856 (F)
        masalvati@mdwcg.com


       GENA ALULIS and                                                                                         II              COURT OF COMMON PLEAS
       PAUL ALULIS                                                                                             U
                                                                                                               |               PHILADELPHIA COUNTY
                                                                                                                I4             CIVIL ACTION - LAW
                           v,                                                                                   1
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                                                                                                                II              APRIL TERM, 2019
        THE CONTAINER STORE, INC. and                                                                            I
        BASF/1 GROUP, INC.                                                                                       I\             no. 616

                                                        MEMORANIHJM OF LAW IN SUPPORT OF THE
                                                            .  PRELHVIINARY OBJECTIONS
                                                           OF DEFENDANT BASE4 VENTURES, LLC
                                                         FORMERLY KNOWN AS BASE4 GROUP, INC.
                                                               TO PLAINTIFFS' COMPLAINT

       1.                 MATTER BEFORE THE COURT

                          Presently before the Com am the Preliminary Objections ofBASE4 to P1a'md83'

        Complaint.

                          BASEA is a Texas company that sold a product to The Container Store, another Texas

        company. The product was shipped &om BASE4 in Texas to The Contdner Store 'm Texas.
                                                                                                                                                                                                                                                         !
        Because BASE4's conduct occurred entirely within the Lone Stay State, the courts of
                                                                                                                                                                                                                                                         I

       Fennsylvania lack personal jurisdiction to hear Plaintiffs' claims against BASE4 in this case.                                                                                                                                                    I
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       II.                STATEMENT OF QUESTIONS PRESENTED
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        (1)               Should Plaintiffs' claims against BASE4 be dismissed, where this Court lacks general
                          personal jurisdiction over BASB4, because BASE4 is neither fonded nor headqunNered                                                                                                                                             I
                          in Pennsylvania, and cannot otherwise be fairly regarded as "at home" here, 'm the
                          manner the Supreme Court has defined that term?                                                                                                                                                                                Ii
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                     (2)         Should Plaintiffs' claims against BASE4 be dismissed, where this Court lacks specie
                                 personal jurisdiction over BASEA 'm this case, because Plaintiffs' causes of action do not                                                                                                          i\
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                                 arise out of any contact BASE4 has had with Pennsylvania, but rather involve an                                                                                                                      |
                                                                                                                                                                                                                                               I
                                 allegedly defective product that BASE4 sold and shipped Hom one Texas address to
                                 another?

                                 SuggesfedAn.s'wers (1-2): Yes. This court lacks both general and specific jurisdiction                                                                                                               x


                                 to hear Plaintiffs' claims against BASE4, and so the claims against BASE4 should be
                                 dismissed.

                     III.         STATEMENT OF FACTS

                                  In this product liability action, PlaintiHls Oona and Paul Alulis allege that Mrs. Alulis was

                      shopping at The Contafnor Store in King of Prussia, Pennsylvania, when a Magnetic KNIFEstr1'p

                      fell on her foot, breaking her toe and causing other iqiuries. see Plaintiffs' Complaint, a copy of

                      which is attached hereto as Exhibit "A," at 'W 6-8, 11.

                                  The Magnetic KnTFEstrip, depicted below, is a rectangular block of wood that contains

                      embedded magnets to safely store ldtchen cutlery:




                       As against BASE4, Plaintiffs allege that the Magnetic KNI,FBstrip was unreasonably dangerous,
                                                                                                                                                                                                                                          g
                       defective, and u merchantable. Seq Exhibit "A" at Count 17 (asserting strict product liability and                                                                                                                 I



                       breach of warranty claims) .

                                   BASB4 is a limited liability company formed and e>dsting under the laws of the State of

                        Texas. See Exhibit "A" at1]4; §.Q.Q also Affidavit of Jonathan Filipsld, attached hereto as Exhibit


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                            "B," at114. BASB4 has its principal place of business In Addison, Texas. §¢§_ Exhibit "B" at 1]

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                                         Plaintiffs do not allege that any conduct or omission ofBASB4 giving rise to this action

                            occurred in Pennsylvania. §.ee lzenerally. Exhibit "A"; §9§ also Exhibit "B" at111110-14

                           (describing BASE4's interactions with the subject product, which did not occur in Pennsylvania).

                           To the contrary, while BASE4 does sell and ship Magnetic KNIFEstrips to The Contakier Store,

                            all such products are sold and shipped to The Container Store's distribution center in Coppell,

                            Texas. See Exhibit "B" at TW 10-14.

                                         BASE4 is not registered to do business in Pennsylvania. See E><h1'bi¢ "B" at1]7. BASB4

                           has not consented to jurisdiction in the courts of this Commonwealth. Seq i i at1]8.

                           IV.           ARGUMENT
                                                                                                                                                                                                                                               I
                            A.           Summary of Argument

                                         This Court lacks personal jurisdiction over BASE4 In this xnattcr. Under Dai m l er A G v.

                           Bauman, general jurisdiction is only appropriate over a defendant company 'm the one or two

                           states when it is "at home" - its state of incorporation and the location of its principal place of

                           business. BASE4 is a Texas limited liability company with its headquarters in Texas. Under

                           Walden v, Fiore, speoifis jurisdiction requires that the plaintift"s cause of action arise from the

                           defendant's activity 'm the forum state. Here, BASE4 sold,a product in Texas tn a Texas

                           customer, and shipped it to that customer in Texas. None ofBASE4's conduct related to the

                           product at issue took place in or was directed to Pennsylvania.

                                        Because this Conn lacks both general and specific personal jurisdiction over BASE4 in
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                           this matter, the claims against BASE4 must be dismissed,


                           3 While Pialntilfs ixworrecdy allege that BASB4 has its principal place ofbuslness in Dallas, Texas, see Exhibit "A"
                           atlI 4, it is undisputed that BASB4 dons g have its principal place ofbuslness 'm Peunsylvanla.

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                       B.            Standard of Review
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                                     The issue of lack of personal jurisdiction is properly raised by way ofPrelinoinaly                                                                                                    I
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                       Objection. Pa.R.C.P. 1028(a)(1). When a defendant properly objects, the plaintiH` must bear the                                                                                                       I
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                       burden of proving that the Court haSh personal jurisdiction. Crompton v. Park.Ward Motors,                                                                                                            8
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                       Inc., 445 A.2d 137 (Pa. Super. 1982).                                                                                                                                                                 E




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                                     This Court's assertion of personal jurisdiction over a defendant is governed by the Due                                                                                                 II       .


                       Process Clause of the 14th Amendment to the U.S. Constitution. Goodyear Dunlop Tires Ops.,                                                                                                            Ii
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                       S.A. v. Brown, 564 U.s. 915, 918-919 (2011) ("A state court's assertion ofjurisdiction exposes

                       defendants to the State's coercive power, and is therefore subject to review for compatibility

                       with the Fourteenth Amendments Due Process Clause?) (citingInternational Shoe Co. v.
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                       Washington, 326 U.S. 310, 316 (1945>>§ §;Q9 also Walden v. Fiore, 571 U.S. 277, 283 (2014)                                                                                                            i

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                       ("The Due Pro cess Clause of the Fourteenth Amendnmnt constrains a State's authority to bind a
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                       nonresident defendant to a judgment of its courts.") (citing World-Wide Volkswagen Corp. v.                                                                                                          I I

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                       Woodson, 444 U. s. 286, 291 ((980))

                                     The exercise of personal jurisdiction permitted by the Due Process Clause may be
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                       categorized as "general jurisdiction" or "specific jurisdiction," and depends oh the nature and                                                                                                      I
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                       quality of the defendant's contacts with the forum state. See, e.g., Bristol-Myers Squiinb Co. v.

                       Superior Court, 137 S.Ct. 1773, 1779-80 (2017) (contrasting general and specific jurisdiction);                                                                                                      Il
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                       City of Philadelphia v. Borough of Westville, 93 A.3d 530, 532-33 (Pa. Commw. 2014) (same).
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                                    In the past few years, dm U.S. Supreme Court has issued a series of landmark rulings on                                                                                                 ;:
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                       jurisdiction: Daimler AG v. Bauman, 571 U.S. 117, 137-38 (2014) andBNSF Railway Co. v.
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                       Tyrrell, 137 S.Ct. 1549, 1559 (2017) for general jurisdiction; andWalden v. Fiore, supra, and
                                                                                                                                                                                                                           I
                       Bristol-Myers Squibb, supra for specific jurisdiction. These cases, taken together, create a new                                                                                                    I
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 paradigm for thinldng aboutjurisdiotion, and place specific limits on the forums in which a suit

 may be Htought against a defendant. 899. go BNSF Railway, 137 S.Ct. at 1560 r1.1

  (Sotomayor, J., concurring 'm part and dissenting in part) (referring to Daimler as a "sea change"

  'm jurisdictional analysis).

                     Accordingly, pre~Daimler. cases and methods of analysis must be re-evduated in light of                                                                                                                                      1




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  the Supremo Court's recent holdings.

  c.                 General personal Iurisdictlon

                      "General" or "all purpose" jurisdiction permits a oom't to exercise jurisiiiotion over a
                                                                                                                                                                                                                                                           ;
   defendant 0!1 any cause of action, whether or not that cause of action arose in the forum state.                                                                                                                                              13
   See. Bristol-Myers Squibb, 137 S.Ct. at 1779-80; City of Philaglelphi8, 93 A.3d at532-33. For                                                                                                                                                 a;
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   general jul'isdiction to be appropriate, a defendant company must be "at home" in the forum mane.
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                       Although many earlier cases had focused on quantifying a defendants business contacts
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    with the proposed forum, in2014 the United States Supreme Court rejected the argument that a

    defendant corporation could be subject to general jurisdiction simply because it "engages in a
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    substantial, continuous, and systematic course of business" iN the forum state. 86 Iggimler, 571
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    U,S. at 137-38 (holding that such a standard for general jurisdiction would be "unacceptably
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    9'8sping").                                                                                                                                                                                                                                       I
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                        As the Supreme Court explained in Daimler:

                                         Goodyear made clear that only a limited set of a8iliadons with a
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                                         forum will render a defendant amenable to all-purpose jurisdiction
                                         there. 'For an individual, the paradigm forum for the exercise of
                                         general jurisdiction is the individual's domicile; for a corporation,
                                         it is an equivalent place, one in which the corporation is fairly
                                         regarded as at home' With respect to a corporation, the place of
                                         incorporation and principal place of business are 'paradigm] ...
                                         bases for general jurisdiction. ' Those affiliations have the virtue of
                                         being unique-that is, each ordinarily indicates only one place-as
                                          well as easily ascertainable....

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                                                      Goodyear did not hold that a corporation may be subj ect to general
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                                                                                                                                                                                                                                                                                    I
                                                      jurisdiction only in a forum where it is incorporated or has its
                                                      principal place of business; it simply typed those places paradigm                                                                                                                                                            4
                                                      all-purpose forums. Plaintiffs would have us look beyond the
                                                                                                                                                                                                                                                                                    I
                                                      exemplar bases Goodyear identified, and approve the exercise of                                                                                                                                                            !
                                                      general jurisdiction 'm every State in which a corporation 'engages
                                                      in a substantial, continuous, and systematic course of business'
                                                      That formulation, we hold, is unacceptably grasping.                                                                                                                                                                          3
                                                                                                                                                                                                                                                                                 i
                      Daimler, 571 at 137-38 (citations omitted).                                                                                                                                                                                                                I


                                       Rather, the general jurisdiction inquiry focuses on where a corporation is "fairly regarded

                      as at home," i.e. the corpora1:ion's state of incorporation and the state where it maintains its

                      principal place of business. Seq                                            at 138-39 ("Accordingly, the inquiry under Goodyear is not

                       whether a foreign corporation's in-forum contacts can be said to be in some sense 'continuous

                       and systematic) it is whether that corporations af8liations with the State are so continuous and

                      systematic as to render it essentially at hcntne in the form State.") (ilmtefnal quotations omitted).                                                                                                                                                      3
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                       A corporation's principal place of business is its "nerve center," or headquarters, Le., "the place
                                                                                                                                                                                                                                                                                 u
                       where the corporations high level officers direct, control, and coordinate the corpora'don's

                       activities." Hertz Corp. v. Friend, 559 U,S. 77, 80-81 (2010).

                                        Although the language of Daimler spoke 'm terms of corporations, its reasoning applies to                                                                                                                                               i

                      limited liability companies as well, In Daimler itself, the Supreme Court was faced with two                                                                                                                                                              i
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                      defendants - a corporation and an LLC. In evaluating the exercise of general jurisdiction, the                                                                                                                                                            I
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                      Count subjected both defendants to the same analysis: '"Here, neither Daimler [a corporation] nor
                                                                                                                                                                                                                                                                                I
                      MBUSA [an LLC] is 'incorporated in California, nor does either entity have its principal place of

                      business there." Da.imle1', 134 S.Ct. at 761-62. Even though MBUSA was an LLC, the Court

                      looked to its place of inconaoration and principal place of business to determine whether it was
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                      essentially at home in California and thus subject to general jurisdiction there.
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                                                  A Pennsylvania federal court relied on this equivalent treatment 'mDaimler and                                                                                            i                                     I

                                concluded that the reasoning of Daimler "applies with equal force" to both corporations and

                                LLCs,                         v. Great pins Lens°m;z, LLP, 2016 U.S. Dist. LEXIS 21558, *7 11.3 03.0. Pa.

                                2016). Inpinn the District Court found that the LLC defendant did not have its principal place
                                                                                                                                                                                                                                                          I
                                of business or place of incorporation in Pennsylvania, and concluded *dm the Court could not

                                exercise general jurisdiction over the LLC.                                                            4 at *6-*7. Pennsylvania courts have relied on

                                Finn for the same proposition. 532Ismail v. Volvo .Group North America. LLC, 2017 Phyla. Ct.

                                 Com. Pl. LEXIS 366, a8'd w/o op. 188 A.3d 494 (Pa. Super. 2018)

                            \                      The exerciser of general jurisdiction is thus a simple analysis. BASE4 is a Texas limited

                                 liability company. Its principal place of business is its headquarters in Addison, Texas. Because

                                 Pennsylvania is neither the state of formation of BASE4, nor the site of its principal place of
                                                                                                                                                                                                                        this
                                 bUSi08SS, BASE4 is                            not "at home" in this Commonweal1;h. See Qaimler, supra. Therefore,

                                  Court may not exercise generaljluisdiction over BASB4.

                                 D.                 Specific personal iurisdictlon

                                                   Because generaljurisdiotion is not appropriate, we must nom turn to specific jurisdiction.                                                                                                                 |



                                  "Specific," or "case-linked" jurisdiction depends on an affiliation between the form and the

                                  unclerly'mg controversy; in other words, the activity or occurrence that gives rise to the cause of

                                  action must take place 'm the forum state to be subject to the State's regulation. go; Walden v..

                                  Fiore, 571 U.s. 277, 283 n.6 (2014); is also Bristol-Myers. Squibb, 137 S,Ct. at 1780; City of

                                  Philadelphia, 93 A.3d at 532-33. The Pennsylvania Superior Court has described speciiio

                                      jurisdiction as follows:

                                                                      Specific jurisdiction... depends 011 an "afHliatio[n] between the
                                                                      form and the underlying controversy," principally, activity or an
                                                                      occurrence that takes place in the forum State and is therefore
                                                                      subject to the State's regulation? Because due process may permit
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                                                      specific jurisdiction based solely on 'single or occasional' acts       .
                                                      purposefully direotcd at the form, it is narrow in scope, limiting a
                                                      cause of action to the extent that it 'arises out of or relates to' the                                                                                                                                                      I
                                                      very activity that establishesjurisdiction.

                  Mendel, 53 A.3d it 817 (cititlg and quoting ood ear, supreme.

                                     The Supreme Court has made clear that the fact that the plaintiff r¢sides in the forum

                  state is ir;§ui§cie4t to create specific jurisdiction. Seq Walden, 571 U.S. at285 ("But the

                  plaintiff' cannot be the only link between the defendant and the forum. Rather, it is the
                                                                                                                                                                                                                                                                                        Y
                  defendant's conduct that must form the necessary connection with the forum state that is the basis

                  for its jurisdictioN over hint."); seq also                                                            i        at 284-85 (holding that, for specie jurisdiction to

                  arise, "our 'minimum contacts' analysis looks to the defendants contacts with the forum State

                 itself, not the defendant's contacts with persons who reside there," and that "the relationship must

                                                                                                                                                                                                                                                                               I
                  arise out of contacts that the 'defendant himself creates with the forum State") (emphasis in

                 original) (citation omitted).

                                   I n Walden, the Supreme Court declined to exercise specific jurisdiction over a Georgia-

                based DEA agent who had seized the gambling winnings of Ncvada residents during a layover at

                 an Atlanta airport. 4 at 279-80. Despite the fact that the defendant had harmed Nevada

                residents en route to Nevada, the Supreme Court unanimously found that the defendant lacked

                the necessary minimum contacts with Nevada necessary to give dsc to specific personal

                jurisdiction, See                        i          at288-89. As the Court explained, "Due process requires that a Hefendant

               be haled into court in a forum State based on his own affiliation with the State, not based O11 the

               'random, fortuitous, or attenuated' contacts he makes by interacting withother persons affiliated

                with the State.ll l(.L at 286 (citingBurger King Corp. v, Rudzewicz. 471 U.s. 462, 475 (1985));

               seq also Wor1<                           tidg _V._<gksyyagen Corp_. v. W:<>0s18Qn. 444 U.S, 286, 298 (1980) ("But the mere

               'unilateral activity of dtosc who claim some relationship with a nonresident defendant cannot


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              Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 41 of 99
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          satisfy the requirement of contact refth the forum State"). Because the dcfendatlt's case-related                                                                                                                                   I


          conduct occurred in Georgia, the ConN held that he had formed no 'jurisdictionally relevant

          contacts with Nevada." Walden, 571 U.S. at 289.

                        In this case, BASE4 has formed no '§urisdictiona11y relevant" contacts with
                                                                                                                                                                                                                                    r
          Pennsylvania, nor does P1aintiHs' Complaint allege that any act or omission of BASM occurred

          in Pennsylvania. 84 Exhibit "A." BASE4, a Texas company, sold a product to a customer 'm

          Texas and shipped it to a Texas address.                                                     Exhibit "B" at W 10-14.

                        The allegation that PIaint{8ls are residents of Pennsylvania is of 110 moment. They are

         nothing more than the "random, fortuitous, attenuated" contacts disregarded by the Supreme

         Court 'm W den. Again, the specific jurisdiction analysis looks to the defendant's contacts with                                                                                                                                         I

         the forum State, not the plaintiffs. §9_g.                                             Alde ,571 U.S. at 285-86. Because Plaintiffs' causes

         of action did not arise from BASE4's contacts with Pennsylvania, the Court lacks specific

         personal jurisdiction over BASE4. Seq4 at291 ("Petitioner's relevant conduct occurred

         entirely in Georgia, and the mere fact that his conduct affected plainti8ls with connections to the

         forum State does not suffice to authorize jurisdiction.");Daimler, 571 U,S. at 126 (quoting the

         seminal case ofInt¢n1_a1iQn8l Shag to explain that speci8cjurisdHction only arises 'm a case "in

     4   which the in-state activities of the corporate defendant 'ha[d] not only been continuous and

         systematic, but also g[a]ve rise to the liabilities sued on.").

                     Nor does the fact that product ended up 'm Pennsylvania create specific jurisdiction. In

         the wake of the Supreme Court's decisions 'in Walden and4istoI_-Myers Sggibb, the strealn~of-

         commerce theory is no longer a valid basis for personal jurisdiction:

                                     The stream-of-commerce theory contends, essentially, that specific
                                     personal jurisdiction exists over a non~resident defendant when
                                     that defendant "has injected its goods into the forum state
                                     indirectly via the so-called stream of commerce," rendering it
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                                                        foreseeable that one of the defendants goods could cause injury in
                                                        the forum state.                                                                                                                                                                                      I

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                                                       A plurality of Supreme Court Justices has twice rejected the
                                                       stream-of-commerce theory, stating, in a manner consistent with
                                                       our own case law, that plaintiffs must instead rely on "some act by
                                                       which the defendant purposefully avails itself of the privilege of
                                                       conducting activities within the forum State, thus invoking the                                                                                                                                            I
                                                       benefits and protections of its laws." Indeed, the Supreme Court
                                                       has recently held that "[t]he bare fact that [a non-resident
                                                       defendant] contracted with a [resident] distributor is not enough to
                                                       establish Personal jurisdiction in the State." We thus have no     .
                                                       cause to revisit our Court's precedent on this issue, and we decline
                                                       to adopt the [_plainti5s'] stream-of-commerce theory of specific                                                                                                                                           x
                                                                                                                                                                                                                                                                  |
                                                       personal jurisdiction.                                                                                                                                                                                     I




                       Shuker v. Smith &_nephew,PLQ, 885 F.3d 760, 780 (3d Cir. 2018) (integral citations omitted).                                                                                                                                         I
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                                           Again, the critical inquiry is whether the defendallt's contacts with the forum state give                                                                                                                         Ig
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                       rise to Plaintiffs' cause of action. 899 Walden, 571 U.S. at 284-85. In this case, where BASE4                                                                                                                                         1
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                       sold a product in Texas to a Texas customer, there is simply is no such jurisdictional comemion                                                                                                                                    g
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                       between BASE4 and Pennsylvania.
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                       v.              RELIEF REQUESTED
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                                       BASE4 is a Texas company that sold a product to The Container Store, another Texas
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                      company. The product was shipped from BASE4 in Texas to The Container Store 'm Texas.

                      Because BASB4's conduct occurred entirely within the Lone Star State, the courts of
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                      Pennsylvania lack personaijurisdiction to hear Plainti8ls' c18i1ms against BASE4 in this case.                                                                                                                                 !
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                      The claims against BASM should be dismissed.                                                                                                                                                                                   f



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                                                                                                              MARSHALL DENNEHLEY WARNER                                                                                                             I
                                                                                                              COLEMAN & GOGGIN                                                                                                                      ;i
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                                                                                                                            MICHAEL A. SALVAT I
                                                                                                                            Attorney for Defendant,                                                                                                II
                                                                                                                            BASE4 Ventures, LLC,                                                                                                   !
                                                                                                                            fonncrly known as BASE4 Group, Inc .                                                                                   I
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                                                                                                          VERIFICATION
                                             Michael A. Salvati, attorney for defendant, BASB4 Ventures, LLC, verifies that the facts

                                set forth in the Preliminary Objections of Defendant, BASB 4 Ventures, LLC, to Plain(:i8ls'

                                Complaint are true to the best of his knowledge, information and belief. Lfdw above statements

                                are not true, the deponent is subject to the penalties of 18 Pa.C.S. §4904 relating to unsworn

                                falsification to authorities.




                                                                                                                   BY:                            I%4z3
                                                                                                                                  MICHAEL A. SALVAT I




                           DATED: 6/6/19



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                                                                                    CERTIFICATE OF COMPLIANCE

                                              I certify that this filing complies with the provisions of the Public Access Policy of the

                             Unlffed Judicial .System ofpenn.s;vlvan!a.' Case Records' of the Appellate and T?'Ial Courts that

                             require filing confidential information and documents diEetently than non-conHdenlia1

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                                                                                               MARSHALL DENNEHEY WARNER
                                                                                               COLEMAN & GOGGIN                                                                                                                                                 Q


                                                                                               BY:
                                                                                                            MICHAEL A. SALVAT I
                                                                                                            PA Attorney ID. 311682

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                                                                                  CERTIFICATE OF SERVICE

                                     I do hereby ce.1'tify that a 'Mme and correct copy of the foregoing Preliminary Objections was

                    sewed upon all parties ofxecord via e-mail and regular mail on the below-noted date.



                                                                                                           MARSHALL DENNEHEY W ARNER
                                                                                                           COLEMAN & GOGGIN


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                                                                                                                           JANET M. SMITH
                                                                                                                           Administrative Assistant to
                                                                                                                           MICHAEL A. SALVATI
                                                                                                                           Attorney for Defendant
                                                                                                                           BASE4 Ventures, LLC                                                                                                                                  !
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                Kindly enter my appearance on behalfofPIu10tif9Pelltl0nar/Appellant: §i8W'~ ALULIS 1 PAUL QWJTIIQ
                Papoxs may be served at tim address set forth below.
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                 BRAD S. RUSH                                                                                                     123 SOUTH BROAD swramsm
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                 (215) 785-5476                                             (215)735- 9057
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                  72096                                                                                                           brad@ko vler1~ush . co m

                SIGNATURE QFFIUNU Aw0amv OR PARTY                                                                                oA1mu1amrr7eo
                 BRAD RUSH                                                                                                         W ednesday, April 03, 2019, 10:49 am
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                                     Philadalpl11a,Pennsylvanin 19109
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                                     nm CONTAINER STORE, TNC.                                                          I
                                     500 Freeport pkwy #100
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                                     BASE4 GROUP, INC.                                                                I
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                                     l)allus, TX 75240


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          Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 49 of 99

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                     ICOVLER8: RUSH, P.C.
                     BY: BRAID S, RUSH, ESQUIRE                                                                  Attorney for P)ninM&
                      Afiy. :m N0.1 72896                                                                                                                                                                                                                       2

                     128 South Broad Street, Suite2250                                                                                                                                                                                                          l
                     Plriladolphia, Pannaylvania 19109
                     (215)735-5476      .                                                                                                                                                                                                                       I
                     GIITNA ALULI8 and
                     PAUL ALULIS
                                                                                                  I              coin' cir clommon rit,11:As                                                                                                                                 I
                                                                                                                 OF PHILADELPHIA COUNTY
                     2101 Market Street, #3901                                                     1             C1VU AC1'1ON-_LAW
                     Philadelphia, FA 19103                                                        I
                                                                                                                                                                                                                                                      \
                                     v.                                                            I
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                     THE CONTAINER SHFORE, INC,                                                    2
                                                                                                                                                                                                                                                                    s
                     500 Ifreeport Pkwy #100                                                      1                                                                                                                                                                 l
                                                                                                                                                                                                                                                                    I
                     Coppell, TX 75019                                                            e                                                                                                                                                                 I

                                   and                                                            x
                     BASE4 GROUP, INC.                                                            I
                     14001 N. Dall88 Purlcway, sum 506                                            z
                     Dallas, TX 75240                                                             1




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                                                                        C0UN'l2l:       I
                                                      GENA ALIILIS v. THE CONTAINER STORE, INC.
                                                                       (Negligence)


                                 1.           plalmi8 Gena Alulis, is an adult individual residing at the abovwépdoned

                    address and at all times relevant hereto, was the wife of P1aintL8§ Paul Aiulls,

                                2.           Plaintiff, Pau! Alulls, is an adult individual Molding at the above-captioned

                    address and at all times teluvpnt hereto was the husband ofpIaintf81 Gena Alulia.

                                3.           Defendant. The Container Store, Inc., 18 a corporation or other: Business aMity

                    organized and oxlsting under the laws of the Oomullonwealth of Yermsylvania width a principal

                    place ofb118ilness loomed at the ab eve captioned address.

                               4.           Defendant, Bu,ye4 Group, Ina., is a corpomiion Ar other budnass entity organized
                                                                                                                                                                                                                                                            I
                    and existing under the laws of the State of Texas with a principal plane of business located at the
                                                                                                                                                                                                                                                            l
                                                                                                                                                                                                                                                            I
                    above ouptionsd address.                                                                                                                                                                                                               i
                                                                                                                                                                                            Case ID: 190400616                                             I
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                                  Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 50 of 99
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IM881¢*&F»1.$£1.#8a°I=:9':21=~*.}1*5i>i¢5;                   t=r'<2$2 ci'tét'~ }¢§:;*».   l:§.\\c'M l.».=1='».£2.=\.\ l:8 .*.'}h.r¢1    &v&''r.> ia8= } i § .       13¢{¢%»::.*'»L w e:;¥!.=., 32.19 ii. ,` .4)   1..a!("£8* "a=:3a:it11'4,¢?X.a» w. ws..\ I

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                                                     5,             At dl tlmas relevant hereto, Defendants were in the buadness of manurfaoturlng,

                                       selling, packaging and/or distributing magnetic km& woks and in pa1'ti<>Wm' the Bamboo

                                      Magnetic9~L[FTlatri.p involved in this accident.

                                                     6.             At aLl times relevant hereto, Dai°endant, The Container Stow, Ina., by their agents,

                                      servants, wox'lullen or employees, aoljng in the scope of' their authority, owned puasesaod and

                                      uontrolied the premises Ioceded at650 W Dekalb Plloe, King ofBru8sl8, PA19406.

                                                    7.              On or abbott My 5, 2017 at appwclmatoly 6:00 p.m., Pleiwti&; Oona Alulis, while

                                      lawfully on Defendants plemisw looaied 650 W Dakalb Pike, King of Pnwsia, PA 19406, was

                                      injured as a insult of being Potluck an the foot by in Base4 Giioup, Inc. Bamboo Magnetlo                                                                                                                       .I

                                      KNIFEs11ip which was in a dengexwvus and defective condition to patrons on the praxnisss, and

                                      which said MaglwtiolCNIl*Bsi:rip caused said accident which resulted in Plaintlfxi Gena Alulis, to
                                                                                                                                                                                                                                                       4
                                      so&ler severe and pennanant personal in judos move iixlly described haxe!1wi¥m'.                                                                                                                                 4


                                                    8.             It was at the above tone and play lita the plalntI&' was shopping at the Container

                                      Store where the display containing knife racks are Iooacted. plalntiiifwas exmnining the bamboo

                                     knife strip holder when the item slipped iron the improperly sealed oavton and struck ptaintl& on

                                          or foot. Said ines was not properly packaged and/or was not properly sealed ardor was not

                                     properly displayed.

                                                   9,              At the time and place aforementioned, D&ot)dant, The Container Stow, Inc., by

                                     their agents, servants, worlmzen or employees, acting In the scope of their rmthmity, were

                                     mgligemi in:

                                                                                  mating a dangerous condition by hnprop orly 8torh1g/clisplaying the

                                                                                 Ba8e4 Group, Inc. magnetic M~]IFBstr1p;                                                                                                    I


                                                                  b)              allowing a dangerous condition to mmaiu by displaying the magnetic

                                                                                 K$NIBBstrlp in improperly sealed packages;


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                                     Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 51 of 99

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                                                                             <=)                falling to wam of a daugewua oonditlon of improperly packaged and
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                                                                                                imprcpaxiy storing and diapinyiugthn magnetic KNIFBstu!ps;                                                                                                                            5



                                                                              ti)               failing to pmpatiy maintain the) premises by improperly storing and
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                  i
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                                                                                                dlsplaylngthn magnetic IOta*Bsttips;
                                                                                                                                                                                                                                                                          s


                                                                              e)                ilxiling to provide adequate p1:eouut&on.s to wam putnms of hnpxuperly

                                                                                                stored and packaged magnetic KNIFEsh*ips;

                                                                              t)                Maintaining premises in violation of the mights o:¥P18i11f:llW as dssovlbcd

                                                                                                above;

                                                                              9)                Failing to properly inspect the pramlses andlooate improperly stored,
                                                                                                                                                                                                                                                                                  x

                                                                                                hnproporly packaged, and dismayed items;                                                                                                                                          i

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                                                                             11)                Any and all acts ofnegUgensée which may be discovered pursuant to the                                                                                                             ,n
                                                                                                                                                                                                                                                                                  l

                                                                                                Pennsylvania Rules of Civil Procedure.

                                                            10.                In do altemativo, the Dol'mldnnt, The Container Store, Inc., by 1i1elf agents,
                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                              !
                                            servants, woiicmen or employees, acting 111 the course and scope of their a11iho1*lty, wow in the
                                                                                                                                                                                                                                                                                  \
                                                                                                                                                                                                                                                                                  I
                                            aolc and exclusive posseadon, inanageznent, care, maintenance and contra! of the object causing                                                                                                                                       I

                                            PlaMniiiltb' pexwnal hguclea, thereby having exclusive and superior knowledge of the cause of Thu

                                             accident herdnabovo alleged.

                                                            11,               Solely as a result of the negligent of the Defendant as af.o1'eaaid, I'1a3nt1i£ Gena                                                                                                            ;

                                             AluHH, sum&x:ed swore pllyaical injuries including but not limlted00 a displaced B'aotm~o of distal

                                            phalanx of toe MR foot, left foot pain, loft amide tibialis, antoiior tibial ayndroxxw lai; leg,

                                            cornponsation injury to right log, knee and ankle, some or 811 of which may be paunanant In

                                             x18tm'o causing her great pain and au8s13ng.

                                                            12,               As a fault om? Defemiants, The Container Stavro, Inc. and Ba8o4 Group Ino.'s                                                                                                                    I



                                             conduct, individually and collectively herelna1&er described, Plainlif£ Gena Alulis, has sixffared

                                             and lnourred gout pain and mental anguish and Is muldang a claim for same.                                                                                                               Case ID: 190400616
                                                                                                                                                                                                                                         Case ID: 190400616                   i


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                                  Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 52 of 99

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                                                         13.            As a result of the Defendants, The Containea' Stowe, Inc. and Base4 Getup, !no.'s                                                                                                    §




                                            conduct as hcreinmfter desczrlbud, PlalntI8?, Gena Alulis, has incurred medical bills, past and

                                            future wage loss and nnalsnes a nlaizn br name no well as other damages recoverable under law.

                                                         14.            As ale.sult oft ho Defendants, The Container Stow, Inc. and Based Group, Ilw.'s
                                                                                                                                                                                                                                                             I

                                            conduct, thaw is a healthoam Hen, Plaintiff, Gena Alulis and her subrogate, maker a claim fer
                                                                                                                                                                                                                                                     s
                                            same.
                                                                                                                                                                                                                                                     ra
                                                         15.            Plaintiff, Gena Alulis, hereby claims all éaxnages xeoofvoxable under law for the                                                                                                               f


                                            ilxluties andlien hereit18®ew dascxzibed.

                                                         WHBRM?OilB, Plaintim Gena Aluiis, demands judgment in her favor against
                                                                                                                                                                                                                                                                 .
                                            Defendants, The Container Store, Inu. and Baso4 W ong, Inc., individually and velleotlvely, in                                                                                                                       i


                                            the umountiu wcceas ofFiRy Thousand ($50,000.00) Dollars plus inivleat, most ofllidgntion and

                                            delayed damages.


                                                                               emm ALULIS v. and THE CONTAINER STORE, INC I
                                                                                                                                        II
                                                                                         AND BASED GROUP, INC.                                                                                                                                                    i
                                                                                           (Strict Product Liability)                                                                                                                                            Izz
                                                                                                                                                                                                                                                                  s


                                                          16.           Plaintiff hereby inoorp0xuthlg reference parayuphs 1»~15 ws though fully set forth

                                            lwrein at length.

                                                         17,            The anoldeut of July 5, 2017 and the rosultlng personal injuries sustained by

                                            PlaiuUfa Gena Alulis, were caused by the arrtions ardor inaotlons of' Dofundants, 'mdivldually

                                            and colleedvely, therefore they are strictly liable as follows:

                                                                         al       Designing, fabricating, manufhoturing, distributing and/or sellilug
                                                                                                                                                                                                                                                                 1

                                                                                  the magnetic I{NII*Bstrip in an unreasonably dangerous condition;

                                                                         b)       Designing, fabdoatimug, manufiwuuhmg, distributing and/or selling

                                                                                  the magnetic KNIItBstr1p without all necessary wnmings, safety

                                                                                  equiprue/xt and necessary so&ty elements;
                                                                                                                                                                                                              Case ID: 190400616
                                                                                                                                                                                                                 Case ID: 190400616
                              Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 53 of 99

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                                                      G)      Deatfgning, fabticatiug, lnumréxoturlng, dL9trlbuting and/ar selling
                                                                                                                                                                                             1
                                                                                                                                                                                             s
                                                              flwncmgnotio IQ4IFBstrlp without proper puokaging;

                                                      d)      Failing to adequately warn consumers including P1ai1athE of the dangerous
                                                                                                                                                                       |
                                                              and deffcotive conditions;                                                                                                               I
                                                                                                                                                                                             .I

                                                      8)      Ax\y and all acts ofnegliganoe which may be dlsoovevred puwuant to the

                                                              Pennsylvania Rules of Civil Pnowdmxre.

                                               18.    As a direct, p10xima'ce and foreseauble result of the Dei%ndan1s improper acts and

                                      omissions, Pla!nti8lx~wxEered ininu'l¢s hereinafter' described.                                                                                                         !
                                                                                                                                                                                                              I

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                                               WE    RBFORE, Plaintiff; Gena Allllia, demands judgment in her favor against                                                                            1


                                      Defendants, The Container Store lm). and Basa4 Group, Inc., indlvldu ally and oolloctively, in an                                                                I

                                                                                                                                                                                                       i
                                                                                                                                                                                                       I
                                      amount in excess of 1*i:&y 'Huousnnd ($50,000.0D) Dollars plus interest, oust of litigation and                                                                 1




                                      delayed damages.
                                                                                                                                                                                                          I

                                                                       .      S10UNT III
                                                           GENA. ALULIS v. T§IE CONTAINER STORE, INC. and                                                                                                 I
                                                                         BASILS GROUP, inc.
                                                                         (Branch of Warranty)


                                               19.    Plaintiff inoorpm'at¢s by reference the allegations contained in paragraphs 1-18 as
                                                                                                                                                                                     I
                                                                                                                                                                                     I
                                                                                                                                                                                     I
                                      though earth were fully set forth at longlhhafciu.

                                               20.    Defendants, individually and oalleotively, expressly and impliedly warrant that                                                C




                                                                                                                                                                                     c
                                      the magnotlo KNIFBsirlp was of merobantable quality, Ht, safe and in proper condition for do                                                   I
                                                                                                                                                                                     I                    I
                                                                                                                                                                                                          .
                                      oldinzuy use for which it was designed and to be displuyad and used.
                                                                                                                                                                                    I
                                               21.    Plaintiff relied upon Defendants skill and judgment and the implied warranty of                                               :
                                                                                                                                                                                    i                     I

                                      merchantability as well as the express wawantles misdo.
                                                                                                                                                                                                  1II
                                                                                                                                                                                                  .
                                               Hz.    'Ihe maguatlo K1~lIFBstr1p as designed, fabrloaied, rnaxMaculrod, distributed                                                               Il      I

                                      and/or sold was not of mewhantable quality and was un6.t, xmsufa and uvuasable for the ordinary                                                             I


                                      purpose for whiohit Was intended sulqleoting PIa1n13&` to great hand and danger.                                Case LD: 190400616
                                                                                                                                                       Case ID: 190400616
                    Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 54 of 99

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                                           By reason of the foregoing, Gena Aluin suEel'cd injuries and damages hereinafter
                                                                                                                                                                                                                                   I
                                 23.                                                                                                                                                                                               !
                                                                                                                                                                                              0


                        desorbed,                                                                                                                                                                                                  !
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                                                                                                                                                                                                                                   I
                                 WHELRBIPORB, :efmnufig Gena Alulls, demands judgment inner favor against Defendant,
                                                                                                                                                                                                                                       s
                        The Container Store, Inc. and Base4 Group, Inv., indtvichmlly and collcofively, in the amount in

                        excess of Fifty Thofuaand ($50,000.00) Dollars plus interest, coat of litigaiinn and delayed

                        dannagea.
                                                                                                                                                                                                                                       3




                                                                  COUNT IY                                                                                                                                                         l

                                                GENA ALULI8 V- THE CONTAINER STORE, INC. and                                                                                                                                       I


                                                                                  BASIE4 GROUP, INC.
                                                                                                                                                                                                                                   I
                                                                                 (Bodily Injury Damages)                                                                                                                           I

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                                 24.       Pladniiffinoctpoxates by xefewune who allegations contained Inparaglaphs 1-23 as

                                                                                                                                                                                                                                               1
                        though each were owly :Wt forth herein at length.                                                                                                                                                                      I




                                 25.       Solely as axesult ofths negligence of the Defendant as aforesaid, Plainrtifh Gena                                                                                       II
                                                                                                                                                                                                                    |
                        Alulis, suf€h1:aa severe physical injuries including but not limited in a dlspMmi t1~aoture of distal

                        phalanx of toe loft foot, M East pain, loci: unklc tibialis, aniuemior phial syndrome left leg,

                        compensation injury to r£§1t leg, mao and alde; soma or all of which may be penmanaut in

                        nature ouushxghw great pain and suffering.

                                 26.       As a result of Detbndunt, The Container Store, Inc. and Base4 G1<>up, 1n0.'8                                                                                                        I
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                                                                                                                                                                                                                               s
                        oouduot, individually and uollectivaly Pereira&er dssnrlbed, Pla1ntiH', Gena Alulis, has suffered

                        and incurred grit pain and mental anguish and is making u claim for same.

                                27.        AS a result of the Defendant, The Comainor Store, Inc. and Basel! Group, Inc.,                                                                                                  I
                        conduct as hareina&er described, Plalnt18, Gena Aiulis, has incurred medical bills, past and                                                                                                       I
                        flume wage loss and Inalces a claim for same as well as other damages reooveiable under law.
                                                                                                                                                                                                                           !
                                           As a msnxlt of the Defendant, Tim Container Store, Inc. and B8se4 Grip. II1o.'s
                                                                                                                                                                                                                   I       I
                                28.
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                        conduct, there is a healthc8r0 lieu, Plaintiff, Guam Alulis and had subrogate, make a claim for
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                        same.
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                                               29.           Plaintiff] Gena Malia, hereby claims all damages wooveiable under law for the

                                 injuries audlian lmexdnaiinx deacuibad.

                                               WHBREFORB, Pluiniifli Gaps, Alulis, demands judgment in her favor against

                                 Defendants, The Container Store. Inc. and Ba8e4 Group, Inc., individually and collectively, in an

                                 amount In excess of my Thousand ($50,D00.00) Dollars plus interest, cost of litigation and

                                 delayed damages.

                                                                      COYDM V.
                                            PAUL ALULIS v. THE CDNTAJNER STORE» ING and BASE4 GROUP, INC.
                                                                                                         (Consortium ClNlxu)


                                               30.           P1&intiH8 hereby incorporate by mferanue paragraphs 1 through29 as though ii1]]y

                                 set forth hsxein at length.

                                               31.           As a dirt and pxoxinaata result of the aforementioned illjulies suffered by his

                                 we&, plaintiff; Paul Alulis, so&brod a loss of sax, society, sewlces, companionship and

                                 consortium of his wife, all to his goat detsfimsnt and loss.

                                               WHBR8BOM, plainaaz Paul Alulis, demands judgment against Mndanm, The

                                 Container Stove, Inu. and Base4 Group, Inc., jointly and severally, in an amount in excess of

                                 Fifty Thousand ($50,000.00) Dollars.


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                                                                                                                            ,RA D s . RUS H
                                                                                                                            Attorney for Plaintiffs




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                                                                                                                      VERIFICATION

                                                         The uudetslgxed, being duly swam according to law, deposes and says Mba is counsel iizr                                                                                                                                                        4
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                                      the party or pavtlsa indicated on the pueccding pages as being represented by said counsel, that he

                                     has examined the pleading and the Andre investigative £16 made on behalf of said party or plies,
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                                     Goat he Is tnklng this vw3Hnation to n8sm~e ootnplianoo with the pel'tillHtlt rules prawning to iinnely
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                                     filing of plwdlxzg and other documents deacdbod by said rules; and the thats set forth In the

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                                    undmigued wldnrstands that the statements thain ac made subject to the pemaltlas of 18 pa(0.8.                                                                                                                                                                           :
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                                                                                                                                                                       KOVLER & RUSH, P.C.


                                   Date:                                                                                                          BY:
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                                      KOVIJER & RUSH, P.C.                                                                                                                                                                      I       .


                                      BY: BRAD s. RUSH, ESQUIRE                                                  Attorney for Pldutiffs                                                                                                 i

                                      Atty. ID NO.: 72896
                                      123 South Broad Street, Suits 2250
                                      Philadelphia, Pennsylvania 19109
                                      (Z15)'735~54'76
                                      GENA ALDLIS and                                                       »
                                                                                                            U    ,COURT OF COMMON PLEAS                                                                              1
                                      PAUL ALULIS                                                           I     OF r1auu.A:mnL1>H1A COUNTY                                                                         I
                                      2101 Market Street, #3901                                             a     CIVIL ACTION nu LAW
                                      Philadelphia, PA 19103                                                :
                                                     v.                                                     x
                                                                                                            :
                                      THE CONTA1N;I.4R STORE, INC.                                          I
                                      $00 Freeport Pkwy #100                                                z                                                                                                  f
                                      Coppell, TX 75019                                                     1
                                                    and                                                     I
                                      BASE4 Gxzovr, mc.                                                    I|
                                      14001 N. Dallas Parkway, Suite 506                                   o
                                                                                                           I

                                      Dallas, TX 75240                                                     o
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                                                                                CERTIFICATE OF CQMPLIANCJA1                                                                                                                 I
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                                                I, Brad S, Rush, Bsqndro, attorney for Plalnilf£ hereby cel'tliies that this wEling complies                                                                                !
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                                      with the prmridona of the Public Anoess Policy of the Uniiivd Judicial System of Pennsylvania;                                                                                        Il
                                  . Case Records of the Appellate and Trial Courts that require "filing con§dandaL inforlnntion and                                                                                         I

                                      documents dUI'e1~antly Iiawu n.on-vonfidential lnfotmaflon and documents.

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                                                                                                                 S. RUSH, ESQIJIRE
                                                                                                           Attorney for Plaintiffs
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                            MARSHALL DENNEHEY WARNER                                                                                                                                                          I
                            COLEMAN & GOGGIN
                            BY: MICHAEL A. SALVATI, ESQUIRB
                                                                                                                                                                      I
                            Attomcy ID. No. 311682
                            2000 Market Street, Suite .2300                                          Attorney for Defend ant
                            Philadelphia, PA 19103                                                   BASE4 Ventures, LLC,
                                                                                                                                                                                                              |
                            215-575-4552 (P)                                                         formerly known as BASE4 Group, Inc.
                            215-575-0856 (F)
                            masalvaI.i@mdwcg.com
                             *_               ..                                    »~»,...»


                            GENA ALULIS and                                                     I
                                                                                                9    COURT OF COMMON PLEAS
                            PAUL ALULIS                                                         l
                                                                                                •    PHILADELPHIA COUNTY                                                                                       II
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                                                                                                1    CIVIL ACTION -LAW
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                                         v.                                                     c
                                                                                                 4
                                                                                                 I   APILIL TERM, 2019
                                                                                                1
                            THB CONTAINER STORE, INC. 8I1d                                      1

                            BASE4 GROUP, INC.                                                    l
                                                                                                 l   no. 616

                                                                            AFFIDAVIT OF JONATHAN FILIPSKI

                                         I, Jonathan Filipski, do hereby av¢r as follows:                                                                                                                          I




                            1                                                                                                                                                                                      I
                                          I am the Chief Operating Officer of BASE4 Ventures, LLC.
                                                                                                                                                                                                               I
                            2             BASED Ventures, LLC, was fonnorly known as BASE4 Group, Inc.                                                                                                         Ir
                            3   »         I am familiar with the allegations made against BASE4 in the above-captioned matter.                                                                                 !
                            4I            BASE4 Ventures, LLC was formed in the State of Texas.
                                                                                                                                                                                                                   :
                            51             BASB4 Ventures, LLC has its principal place ofbuslness in Addison, TexaS.
                                                                                                                                                                                                                   E
                                                                                                                                                                                                                   I

                             6l            BASE4 Ventures, LLC has no locations in Pennsylvania.

                            7l             BASB4 Ventures, LLC is not registered to do business in Pennsylvania.
                                                                                                                                                                                                                   |: ;8
                             8|            BASB4 Ventures, LLC does not consent to jurisdiction in Pennsylvania in this mutter.                                                                                    1
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                             9             I understand the allegations of Flaintii¥s' Complaint to center on a bamboo Magnetic
                                                                                                                                                                                                                    i
                                                                                                                                                                                                                    i :3
                                           KNlFEstrip that Plaintiff Gena Alulis encountered in a retail establishment operated by                                                                                  | I8
                                                                                                                                                                                                                    !

                                           The Container Store.
                                                                                                                                                                                                                         :I;
                             10.           BASE4 Ventures, LLC sells and distributes bamboo Magnetic KN1FEstrips.                                                                                                          i
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                       Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 60 of 99
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             11.         BASE4 Ventures, LLC sells bamboo Magmetic KNIFBstrips to The Container Store.                                                                                                I
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             12.          All shipments from BASE4 Ventures, LLC to the Container Store are made to The                                                                                               :
                                                                                                                                                                                                      I

                         Container Store's distribution center in Coppell, Texas.

              13.        BASE4 Venires, LLC does not ship any products to The Container Store in

                          P¢nnsylvanla.

              14.         Therefore, I can conclude that BASE4 Ventures, LLC did not ship the subject product
                                                                                                                                                                                                       I


                          into Pennsylvania.

              The statements confined in this Affidavit arc true and con'eot to the best of my knowledge,

              information, and belief, and are made subject to the penalties of 18 Pa. C.S.A. §4904 relating to

              unsworn falsi8catlon to authorities.



              Date:         Qs'-lol?                                                        By :




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           EXHIBIT D
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                                                     TO ALL PARTIES :              / ,¢            "1
                                                                          Filed ,and At tes tedlnby the
                                                     you ARE HEREBY lwunilea '<3<a.p;L1zi4~ciLa71l.'ueescords
                                                     ENCLOSED NEW MATTER W E 889*>2F81'9Mo8!:I3'9* pm
                                                     TWENTY (20) DAYS FROM THE SFVZV  : -L-pp, F
                                                     DEFAULT JUDGMENT MAY BE EnTI=l>r    ~§l§sO¢ QU,
                                                                                    `\?18§ir§E@&W

                                                     /a] ]amer 1, Qeen. Caquifw
                                                     JAMES J. GREEN, ESQUIRE
                                                     ATIORNEY FOR DEFENDANT,
                                                     THE CONTAINER STORE, INC.




BARDSLEY, BENEDICT + CHOLDEN, LLP
By: James J. Green, Esquire                             Attorneys for Defendant,
Attorney ID:. 205594                                    The Container Store, Inc.
By: Eric S. Gibbs, Esquire
Attorney ID:. 31 I 142
1600 1\/Iarket Street, Suite 1310
Phi1adelphia,PA 19103
Phone: (215) 977-4133

GENA ALULIS and PAUL ALULIS                             COURT OF COMMON PLEAS
                                                        PHILADELPHIA COUNTY, PA
    vs.

THE CONTAINER STORE, INC. and                           No.: 190400616
BASE4 GROUP, inc.



  DEFENDANT, THE CONTAINER STORE, INC.'S ANSWER TO PLAINTIFF'S
COMPLAINT WITH NEW MATTER ADDRESSED TO PLAINTIFFS, GENA ALULIS
         AND PAUL ALULIS, AND NEW MATTER CROSSCLAIMS
      _PURSUANT T0.pA. REP. 1031.1_MREc*4D TO CgDEF1 DANT.
          Answering Defendant, The Container Store, Inc., by and through its undersigned counsel,

Bardsley, Benedict + Cholden, LLP, hereby submits the within Answer, New Matter and Cross-

Claims to Plaintiffs' Complaint, and in support thereof, avers as follows:

                                      COUNT I
                     GENA ALULIS v. THE CONTAINER STORE, INC.
                                     (Negligence)

          1.     Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

                                                                                              Case ID: 190400616
       Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 63 of 99




of the averments contained in this paragraph and, therefore, denies same and demands strict proof

thereof at trial.

        2.          Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge OI' information to form a belief as to the truth

of the averments contained in this paragraph and, therefore, denies same and demands strict proof

thereof at trial.

        3.          Admitted in part and denied in pale. It is admitted that Answering Defendant, The

Container Store, Inc.'s, principal place of business is located at 500 Freeport Pkwy., Coppell,

Texas 75019. The remainder of this averment is denied as a matter of law and fact. Strict proof

is demanded at the time of trial.

         4.         This averment reelers to Defendants other than Answering Defendant, and

therefore, no answer is required.

         5.         Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. It is specifically denied that Answering Defendant manufactured,

sold, packaged or distributed the product identified in Plaintiffs Complaint. By way of further

answer, however, after reasonable investigation, Answering Defendant lacks sufficient

knowledge or information to form a belief as to the truth of the remainder of this averment as it

relates to other Defendants and, therefore, denies same and demands strict proof thereof at trial.

         6.         Denied. The averments contained in this paragraph state conclusions of law to

 which no answer is required. By way of f`u1"Fher answer, all aspects of this averment concerning

agents, servants, workmen and/or employees are specifically denied.            Since alleged agents,

servants, workmen, and/or employees have not been identified with sufficient palticularity,

 Answering Defendant, after reasonable investigation, is without knowledge or information
                                                     2
                                                                                              Case ID; 190400616
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sufficient to form a belief as to the truth of this averment. Additionally, it is specifically denied

that Answering Defendant owned, possessed, and/or controlled the premises at 650 W Dekalb

Pike, King of Prussia, PA 19406. Strict proof is demanded at the time of trial.

       7.      Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all

due and reasonable care, appropriate under the circumstances, at all times material hereto.

        8.     Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge 01° information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner or that the product described in Plaintiffs Complaint was

not properly packaged, not properly sealed and/or not properly displayed.

        9.      Denied. Each and every one of the averments and sub-averments of this paragraph

are denied as wholly untrue and lack any foundation either in law or in fact. It is specifically

denied that Answering Defendant was negligent in any manner. By way of further answer, all

aspects of this averment concerning agents, servants, workmen and/or employees are specifically

denied. Since alleged agents, servants, workmen, and/or employees have not been identified with

sufficient pa1ticula1ity, Answering Defendant, after reasonable investigation, is without

knowledge or information sufficient to form a belief as to the truth of this averment. It is also
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                                                                                             Case ID; 190400616
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denied that there was any allegedly, "dangerous" condition at the location at issue. By way of

further response, the averments of Answering Defendant's New Matter to Plaintiffs Complaint

are incorporated herein and made a pale hereof by this reference. Additionally, some or all of the

averments contained herein constitute conclusions of law to which no response is required. Strict

proof is demanded at time of trial.       Additionally, it is specifically denied that Answering

Defendant was negligent in any manner or that the product described in Plaintiff" S Complaint was

not properly packaged, not properly sealed and/or not properly displayed. Finally, the averments

contained in sub-paragraph (h) was stricken by stipulation, without prejudice, and is therefore

moot.

         10.   Denied. The averments contained in this pal'agraph state conclusions of law to

which no answer is required. By way of further answer, all aspects of this averment concerning

agents, servants, workmen and/or employees are specifically denied. Since alleged agents,

servants, workmen, and/or employees have not been identified with sufficient pa1'ticulaIity,

Answering Defendant, after reasonable investigation, is without knowledge or information

sufficient to form a belief as to the truth of this averment and demands strict proof thereof at trial.

         11.   Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all

 due and reasonable care, appropriate under the circumstances, at all times material hereto.

         12.    Denied. The averments contained in this paragraph state conclusions of law to

 which no answer is required. By way of further answer, however, after reasonable investigation,
                                                   4
                                                                                               Case ID: 190400616
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Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all

due and reasonable care, appropriate under the circumstances, at all times material hereto.

Finally, to the extent this averment references parties other than Answering Defendant, these

allegations are directed toward individuals or entities other than Answering Defendant and

therefore no response is made or intended to be made.

       13.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all

due and reasonable care, appropriate under the circumstances, at all times material hereto.

Finally, to the extent this averment references parties other than Answering Defendant, these

allegations are directed toward individuals or entities other than Answering Defendant and

therefore no response is made or intended to be made.

        14.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all
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due and reasonable care, appropriate under the circumstances, at all times material hereto.

Finally, to the extent this averment references parties other than Answering Defendant, these

allegations are directed toward individuals or entities other than Answering Defendant and

therefore no response is made O' intended to be made.

       15.      Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of fulther answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. Additionally, it is specifically denied that Answering

Defendant was negligent in any manner. On the contrary, Answering Defendant acted with all

due and reasonable care, appropriate under the circumstances, at all times material hereto.

Finally, to the extent this averment 1'eflerences panties other than Answering Defendant, these

allegations are directed toward individuals or entities other than Answering Defendant and

therefore no response is made or intended to be made.

          WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.

                                            cow II
                GENA ALULIS v. and [sic] THE CONTAINER STORE, INC.
                             AND BASE4 GROUP, INC.
                              (Strict Products Liability)

          16.   Answering Defendant hereby incorporates by reference the responses to

paragraphs l through 15 and makes them a Pam hereof as though they were set forth at length

herein.




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       17.     Denied. Each and every one of the averments and sub-averments of this paragraph

are denied as wholly untrue and lack any foundation either in law or in fact. It is specifically

denied that Answering Defendant designed, fabricated, manufactured, distributed or sold the

product described in Plaintiffs Complaint. It is also denied that the product as described in

Plaintiff's Complaint was in an unreasonably dangerous condition, was without all necessary

warnings, safety equipment and necessary safety elements, was without proper packaging, or that

Answering Defendant failed to adequately warn consumers. By way of further response, the

averments of Answering Defendant's New Matter to Plaintiffs Complaint are incorporated herein

and made a part hereof by this reference. Additionally, some or all of the averments contained

herein constitute conclusions of law to which no response is required. Strict proof is demanded

at time of trial. Further, the averments contained in sub-paragraph (e) was stricken by stipulation,

without prejudice, and is therefore moot. Finally, to the extent this averment references parties

other than Answering Defendant, these allegations are directed toward individuals or entities

other than Answering Defendant and therefore no response is made or intended to be made.

        18.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial.    Additionally, it is specifically denied that Answering

Defendant acted improper or committed an omission. On the contrary, Answering Defendant

 acted with all due and reasonable care, appropriate under the circumstances, at all times material

hereto. Finally, to the extent this averment references parties other than Answering Defendant,

 these allegations are directed toward individuals or entities other than Answering Defendant and

 thelefore no response is made or intended to be made.
                                                  7

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          WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.


                                     CQUNT_III
                     GENA ALULIS v. THE CONTAINER STORE, INC.
                              and BASE4 GROUP, INC.
                                (Breach of Warranty)

          19.    Answering Defendant hereby incorporates by reference the responses to

paragraphs l through 18 and makes them a part hereof as though they were set forth at length

herein.

          20.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. Strict proof thereof is demanded at trial. To the extent this averment

references parties other than Answering Defendant, these allegations are directed toward

individuals or entities other than Answering Defendant and therefore no response is made or

intended to be made.

          21.    Denied. The averments contained in this paragraph state conclusions of law to

 which no answer is required. By way of further answer, however, after reasonable investigation,

 Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

 of the remainder of the averments contained in this paragraph and, therefore, denies same and

 demands strict proof thereof at trial. To the extent this averment references parties other than

 Answering Defendant, these allegations are directed toward individuals or entities other than

 Answering Defendant and therefore no response is made or intended to be made.

           22.   Denied. The averments contained in this paragraph state conclusions of law to

 which no answer is required. Strict proof thereof is demanded at trial. To the extent this averment

 references parties other than Answering Defendant, these allegations are directed toward

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individuals or entities other than Answering Defendant and therefore no response is made or

intended to be made.

       23.      Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references parties other than

Answering Defendant, these allegations are directed toward individuals or entities other than

Answering Defendant and therefore no response is made or intended to be made.

          WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

atto1ney's fees and costs associated with the defense of this litigation.


                                            COJT Iv
                    GENA ALULIS v. THE CONTAINER STORE, INC.
                             and BASE4 GROUP, INC.
                              (Bodily Injury Damages)

          24.   Answering Defendant hereby incolporates by reference the responses to

paragraphs 1 through 23 and makes them a part hereof as though they were set forth at length

herein.

          25.   Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references parties other than



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Answering Defendant, these allegations are directed toward individuals or entities other than

Answering Defendant and therefore no response is made or intended to be made.

       26.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of fulthel' answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references parties other than

Answering Defendant, these allegations are directed toward individuals or entities other than

Answering Defendant and therefore no response is made or intended to be made.

       27.    Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of fulther answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references parties other than

Answering Defendant, these allegations are directed toward individuals or entities other than

Answering Defendant and therefore no response is made or intended to be made.

       28.     Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge O' information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references patties other than

Answering Defendant, these allegations are directed toward individuals or entities other than

 Answering Defendant and therefore no response is made or intended to be made.



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       29.      Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references patties other than

Answering Defendant, these allegations are directed toward individuals or entities other than

Answering Defendant and therefore no response is made or intended to be made.

          WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.


                                            COUNT V_
     PAUL ALULIS v. THE CONTAINER STORE, INC. and BASE4 GROUP, INC.
                                       (Consortium Claim)

          30.   Answering Defendant hereby incorporates by reference the responses to

paragraphs I through 29 and makes them a part hereof as though they were set forth at length

herein.

          31.   Denied. The averments contained in this paragraph state conclusions of law to

which no answer is required. By way of further answer, however, after reasonable investigation,

Answering Defendant lacks sufficient knowledge or information to form a belief as to the truth

of the remainder of the averments contained in this paragraph and, therefore, denies same and

demands strict proof thereof at trial. To the extent this averment references parties other than

 Answering Defendant, these allegations are directed toward individuals or entities other than

 Answering Defendant and therefore no response is made or intended to be made.




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       WHEREFCRE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.


 NEW MATTER ADDRESSED TO PLAINTIFFS GENA ALULIS AND PAUL ALU_LIS
       32.       Plaintiffs assumed the risk of all injuries which limits and/or bars all claims.

        33.      Plaintiffs acted in a highly reckless manner which limits and/or bars all claims.

        34.      Plaintiffs' claims are barred by the Comparative Negligence Statute.

        35.      Plaintiffs' claim fails to state any cause of action against Answering Defendant

upon which relief can be granted.

        36.      Plaintiffs' claims are barred or restricted by t he applicable World<er's

Compensation Act.

        37.      Plaintiffs' claims are barred because of an express or implied contract and/or

release.

        38.      Plaintiffs' claims are barred because of improper service of process.

        39.      Plaintiffs' claims are barred because of the doctrine of superseding and/or

intervening cause.

        40.      Plaintiffs' claims are barred based upon her violation of the applicable Statute of

Limitations.

        41.      Plaintiffs' claims are barred as they failed to sue an indispensable party.

           42.   Answering Defendant owed no duty of care to Plaintiffs.

           43.   Answering Defendant breached no duty owed to Plaintiffs.

           44.   Any alleged dangerous condition, the existence of which is denied, was open and

 obvious.


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          45.   Answering Defendant had no knowledge or notice, either actual OF constructive, of

any alleged defect OI condition as described in Plaintiffs' Complaint, the existence of which is

denied.

          46.   Answering Defendant did not design, fabricate, manufacture, distribute and/or resell

the product as described in Plaintiffs' Complaint.

          47.   Answering Defendant did not design, fabricate, manufacture, distribute and/or resell

the packaging for the product as described in Plaintiffs' Complaint.

          48.   Answering Defendant did not alter, modify, change or otherwise vary the product

and/or packaging of the product as described in Plaintiffs' Complaint which limits or bars

Plaintiffs' claims.

          49.   If the packaging was defective, which is expressly denied, then said defect was

caused by a third party over whom Answering Defendant exercised no control.

          50.   Third-parties, over whom Answering Defendant had no control, altered, modified,

changed Of' otherwise varied the product and/or packaging of the product as described in Plaintiffs '

Complaint.

          51.   The product as described in Plaintiffs' Complaint was placed on the shelf and/or

display in a safe condition and subsequent mishandling by third-parties, over whom Answering

Defendant had no control, or other causes made it harmful before the incident as described in

Plaintiffs' Complaint.

          52.   Plaintiffs misused the product as described in Plaintiffs' Complaint.

          53.    Plaintiff"s alleged injuries, impairments, damages, expenses and/or losses, if any,

are pre-existing in nature and were not proximately caused and/or aggravated by the alleged

incident that is the subject matter of this Complaint.



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       54.     Plaintiffs alleged injuries, impairments, damages, expenses and/or losses, if any,

were caused by a subsequent incident and were not proximately caused and/or aggravated by the

alleged incident that is the subject matter of this Complaint.

       55.     No omissions Ol' conduct on the part of Answering Defendant contributed to

Plain tiff"s injuries, impairments, damages, expenses and/or losses, if any.

        56.    Plaintiffs' alleged injuries, impairments, damages, expenses and/or losses, if any,

were proximately caused in whole, or in part, by the bulk of third paxties, including Plaintiffs, for

whom Answering Defendant is not legally responsible.

        57.    Plaintiffs alleged injuries, impairments, damages, expenses and/or losses, if any,

were the result of an unavoidable accident OI sudden emergency.

        58.     At no relevant time did Answering Defendant act negligently or carelessly in

disregard of the rights of the Plaintiffs or of any other person.

        59.     No act or omission on the part of Answering Defendant was the sole or proximate

cause of Plaintiffs' alleged injuries, impairments, damages, expenses and/or losses.

        60.     Plaintiffs' claims for damages are excessive and unsupported and, therefore, must

be barred or reduced.

        61.     At all times relevant herein, the Answering Defendant acted in accordance with the

applicable codes and state and federal laws.

        62.     At all times relevant herein, any alleged conduct by the Answering Defendant was

 reasonable and within accepted trade practices and standards.

         63.    Answering Defendant incorporates all applicable contracts or agreements and

 pleads the same as New Matter.




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       64.     Inasmuch as Pa.R.C.P. 1032 provides that if a pally waives all defenses not

presented by way of answer, Answering Defendant, upon advice of counsel, hereby asserts all of

the affirmative defenses set forth in Pa.R.C.P. l 030(a).

       65.     Pursuant to l030(a) of the Pennsylvania Rules of Civil Procedure, Answering

Defendant also raise the a1"fi1'mative defenses of accord and satisfaction, arbitration and award,

consent, discharge and bankruptcy, duress, estoppel, failure of consideration, fair comment, fraud,

illegality, immunity fro m suit, impossibility of performance, justification, laches, license,

payment, privilege, release, res judicata, statute of frauds, statute of limitations, truth and waiver.

        66.    Plaintiffs failed to mitigate their damages.

        67.     All or pale of Plaintiffs' claims for future healthcare and healthcare costs may be

limited O' barred by the Patient Protection and Affordable Care Act.

        68.     Answering Defendant reserves the right to move for leave to amend this Answer to

assent any and all defenses that may become available to her up to and including the time of trial.

        WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.


  ;\1EW_MAT;ER c1955 QLAIM_OF D_EFENllANTLTHE_CON_TAINE_R s10RE, in(;,
    AGAINST DEFENDANT, BASE4 GREOUP, INC., PURSUANT TO PA.R.C.P. 1031.1
         1.     Answering Defendant without admitting any of the allegations contained within

 Plaintiffs' Complaint, and solely for the purposes of asserting this Cross-Claim herein, hereby

 incolporates all of the allegations in the foregoing pleadings and all of the claims for damages

 against Answering Defendant, which purport to identify the alleged errors and omissions that the

 Plaintiffs claims were made by Answering Defendant, as if the same were set forth herein at length




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repeats each and every one of its responses to the allegations contained in Plaintiffs' Complaint

and all of its New Matter as if each were more fully set forth herein at length.

       2.      Answering Defendant denies that it is liable to any party in this lawsuit for any

amount of money under any theory of law or facts.

        3.     If the averments of Plaintiffs' Complaint or certain portions of them are proven true

and correct at the time of trial, Co-Defendant, Base4 Group, Inc., is solely liable for any and all

alleged injuries suffered by the Plaintiffs as a result of the incident in question as it failed to

properly design, fabricate, manufacture, distribute and/or sell the product as described in Plaintiffs'

Complaint.

        4.      If the averments of the Plaintiffs' Complaint or certain portions of them are proven

true and correct at the time of trial, Plaintiffs' damages were caused by the carelessness, negligence

or other culpable conduct of Co-Defendant as they failed to properly design, fabricate,

manufacture, distribute and/or sell the product as described in Plaintiffs' Complaint.

        5.      Co-Defendant is alone liable to Plaintiffs, liable with Answering Defendant, or

liable over to Answering Defendant, on the cause of action declared upon Plaintiffs' Complaint.

The existence of any liability on the part of Defendant, The Container Store, Inc., hereby being

 expressly denied.




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       WHEREFORE, Answering Defendant, The Container Store, Inc., hereby demands that

judgment be entered in its favor and against Plaintiffs and Co-Defendant with an award of

attorney's fees and costs associated with the defense of this litigation.


                                       Respectfully Submitted:

                                       BARDSLEY, BENEDICT + CHOLDEN, LLP


                                       l(>l idww 1 @"¢w.- &we
                                       James J. Green, Esquire
                                       Attorney for Defendant,
                                       The Container Store, Inc.

Date: 5/8/2019




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                                            VERIFICATION

        The undersigned, being duly sworn according to law, deposes and says that he is counsel

for The Container Store, Inc., a Defendant in this matter, and makes this verification. Counsel has

examined the pleading(s) and the entire investigative file made on behalf of said party or parties,

that he is taking this verification to assure compliance with the pertinent rules pertaining to timely

filing of pleading and other documents described by said rules, and the facts set forth in the

foregoing document are true and correct to the best of my knowledge, information and belief.        I

understand that false statements herein are made subject to the penalties of 18 Pa. C.S. §4904,

relating to Lll]swollll falsification to authorities.



                                          BARDSLEY, BENEDICT + CHOLDEN, LLP


Dated: 5/8/2019                            By: lo] jame 1. Queen.. €o¢;ui)1e_
                                                James J. Green, Esquire
                                                Attorney for Defendant,
                                                The Container Store, Inc.




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BARDSLEY, BENEDICT + CHOLDEN, LLP
By: James J. Green, Esquire                             Attorneys for Defendant,
Attorney ID:. 205594                                    The Container Store, Inc.
By: Eric S. Gibbs, Esquire
Attorney ID:. 31 l 142
1600 Market Street, Suite 1310
Philadelphia, PA 19103
Phone: (215) 977-4133

GENA ALULIS and PAUL ALULIS                             COURT OF COMMON PLEAS
                                                        PHILADELPHIA COUNTY, PA
   vs.

THE CONTAINER STORE, INC. and                           No.: 190400616
BASE4 GROUP, INC.



                              CE_1gT1F_1CATE_OF_C0M_PL1A_NC1;

         I certify that this filing complies with the provisions of the Public Access Policy of the

Unyiea' Judicial System Qf Pennsylvania. Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.




                                       BARDSLEY, BENEDICT + CHOLDEN, LLP


Dated: 5/8/2019                        By: [4] jaw 1, Queen. &qu13w
                                           James J. Green, Esquire
                                           Attorney for Defendant,
                                           The Container Store, Inc.




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BARDSLEY, BENEDICT + CHOLDEN, LLP
By: James J. Green, Esquire                            Attorneys for Defendant,
Attorney ID:. 205594                                   The Container Store, Inc.
By: Eric S. Gibbs, Esquire
Attorney ID:. 31 l 142
1600 Market Street, Suite 1310
Philadelphia, PA 19103
Phone: (215) 977-4133

GENA ALULIS and PAUL ALULIS                            COURT OF COMMON PLEAS
                                                       PHILADELPHIA COUNTY, PA
    vs.

THE CONTAINER STORE, INC. and                          No.: 190400616
BASE4 GROUP, INC.



                                cE3T11<1cAT30F_sEm;cl;

        I, Laurence I. Gross, counsel for Defendant, The Container Store, Inc., certify that a true
and correct copy of the Foregoing Answer of Defendant, The Container Store, Inc., to Plaintiffs'
Complaint with New Matter and Cross-Claims was served upon all counsel of record by email
generated by the Court's electronic filing system and to Co-Defendant via certified and regular
mail to the address below .

 Brad S. Rush, Esquire                            Base4 Group, Inc.
 Kovler & Rush, P.C.                              c/0 Bradley Berkley
 123 S. Broad Street, Suite 2250                  14001 N. Dallas Parkway, Suite 506
 Philadelphia, PA 19109                           Dallas, TX 75240
 ArroI~neys.for Plai11fi}j%                       Co-Defendant


                                      BARDSLEY, BENEDICT + CHOLDEN, LLP


Dated: 5/8/2019                       By: [0[ jame 1, Queen, &quiA¢e
                                          James J. Green, Esquire
                                           Attorney for Defendant,
                                          The Container Store, Inc.




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           EXHIBIT
           EXHIBIT E
Taxable Entity Search
            Case      Results
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                              Franchise Tax Account Status
                                       As of : 06/11/2019 07:45:23



                   This Page is Not Sufficient for Filings with the Secretary of State



                                    THE CONTAINER STORE, INC.

                        Texas Taxpayer Number 17515969818

                                                   500 FREEPORT PKWY STE 100 COPPELL,
                                 Mailing Address
                                                   TX 75019-3998                            E




           Q Right to Transact Business in Texas ACTIVE

                       `       State of Formation TX

                 Effective SOS Registration Date 05/05/1978

                           Texas SOS File Number I 0043435300
     I                                           8
                           Registered Agent Name COGENCY GLOBAL INC.
     F
      E                                             1601 ELM ST., SUITE 4360 DALLAS, TX
                Registered Office Street Address
                                                    75201




https://mycpa.cpa.state.tx.us/coa/coaSea1chBtn                                            6/11/2019
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           EXHIBIT
           EXHIBIT F
                                                                                        Page 1 of l
             Case
Taxable Entity     2:19-cv-02564-MSG
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                            Franchise Tax Account Status
                                      As of: 06/11/2019 08:07:20



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                                        BASE4 GROUP, INC.

                       Texas Taxpayer Number 12046011271
                                                    2611 WESTGROVE DR STE 109
                                Mailing Address
                                                    CARROLLTON, TX 75006-3322

         0 Right to Transact Business in Texas ACTIVE

                              State of Formation DE

                Effective SOS Registration Date 12/20/2006

                         Texas SOS File Number 0800749134

                         Registered Agent Name BRADLEY BERKLEY
                                                14001 N. DALLAS PARKWAY, SUITE 506
               Registered Office Street Address DALLAS, TX 75240




                                                                                            6/11/2019
  https://mycpa.cpa.state.tx.us/coa/coaSearchBtn
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MARSHALL DENNEHEY WARNER
COLEMAN & GOGGIN
BY: MICHAEL A. SALVATI, ESQUIRE
Attorney ID. No. 311682
2000 Market Street, Suite 2300                       Attorney for Defendant
Philadelphia, PA 19103                               BASE4 Ventures, LLC,
215-575-4552 (P)                                     formerly known as BASE4 Group, Inc.
215-575-0856 (F)
masalvati@mdwcg.com


GENA ALULIS and                                      COURT OF COMMON PLEAS
PAUL ALULIS                                          PHILADELPHIA COUNTY
                                                     CIVIL ACTION - LAW
        v.
                                                     APRIL TERM, 2019
THE CONTAINER STORE, INC. and
BASE4 GROUP, INC.                                    NO. 616

                           AFFIDAVIT OF JONATHAN FILIPSKI

        I, Jonathan Filipski, do hereby aver as follows:

 1.     I am the Chief Operating Officer of BASE4 Ventures, LLC.

 2.     BASE4 Ventures, LLC, was formerly known as BASE4 Group, Inc.

 3.     I am familiar with the allegations made against BASE4 in the above-captioned matter.

 4.     BASE4 Ventures, LLC was formed in the State of Texas.

 5.     BASE4 Ventures, LLC has its principal place of business in Addison, Texas.

 6.     BASE4 Venires, LLC has no locations in Pennsylvania.

        BASE4 Ventures, LLC is not registered to do business in Pennsylvania.

 8.      BASE4 Ventures, LLC does not consent to jurisdiction in Pennsylvania in this matter.

 9.      I understand the allegations of Plaintiffs' Complaint to center on a bamboo Magnetic

         KN1FEstrip that Plaintiff Gena Alulis encountered in a retail establishment operated by

         The Container Store.

  10.    BASE4 Ventures, LLC sells and distributes bamboo Magnetic KNIFEstrips.
         Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 88 of 99




11.     BASE4 Ventures, LLC sells bamboo Magnetic KNIFEstrips to The Container Store.

12.     All shipments from BASE4 Ventures, LLC to the Container Store are made to The

        Container Store's distribution center in Coppell, Texas.

13.     BASE4 Ventures, LLC does not ship any products to The Container Store in

        Pennsylvania.

14,     Therefore, I can conclude that BASE4 Ventures, LLC did not ship the subject product

        into Pennsylvania.

The statements contained in this Affidavit are true and correct to the best of my knowledge,

information, and belief, and are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating to

unsworn falsification to authorities.



Date:     Q1§;lol?                            By:
                                                       ONATHAN FILIPSKI
Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 89 of 99




           EXHIBIT H
                     Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 90 of 99


Smith, Janet M.

From:                              Eric Gibbs <Egibbs@bbclawfirm.com>
Sent:                              Friday, May 31, 2019 4:13 PM
To:                                Salvati, Michael A.
Cc:                                James Green, Kate Platania
Subject:                           Gena Alulis and Paul Alulis V. The Container Store, Inc. et al Claim No. 003172-00519-
                                   PA-01 - 10072.10072-0003
Attachments:                       Notice of Removal, Civil Cover SHeet, Designation FOrm, Disclosure Statement and Case
                                   Management Track Designation Form.pdf, Alulis - Notice of Removal to Federal Court
                                   (Filed by CoD Interdesign) (Filed 3-21-19).pdf, Alulis - Exhibit A to CoD Notice of
                                    Removal to Federal Courtpdf


Mr. Salvati,

It was a pleasure to speak with you. Attached is a copy of the notice of removal filed in the previous action. As
discussed, we consent to removal, Attached is a copy of the removal petition filed in the prior action. Please let me
know if you have any questions.

Thank you,
                1
                        Eric S. Gibbs, Esquire
                lI      Bardsley, Benedict + Cholden, LLP
                        1000 Crawford Place, Suite 160
               Ii       Mt Laurel, NJ 08054
                        P: 267.699.3859
bbclawfirm.com
                        F: 267.699.3833

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Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 91 of 99




            EXHIBIT
            EXHIBIT II
      Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 92 of 99                                                               i
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KOVLER & RUSH, P.C.                                                                 Gt qudl c1.41. Records                             E

BY: BRAD S. RUSH, ESQUIRE                                 Attorney for Plain8§i c e R¥019d151                                          E
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Atty. ID NO.: 72896                                                                  \G
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123 South Broad Street, Suite 2250                                                              \*#:sllnul %3
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Philadelphia, Pennsylvania 19109                                                                                                       I
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(215)735-5476
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GENA ALULIS and                                           COURT OF COMMON PLEAS
PAUL ALULIS                                               OF PHILADELPHIA COUNTY                                                       Q
                                                          CIVIL ACTION ...- LAW                                                        8



                v.                                                                                                                     E



THE CONTAINER STORE, INC.
          and                                             No.: 190400616
BASE4 GROUP, INC.                                                                                                                      I

                                     A1£11)A_vIT QF SERVICE


        1.      I, the undersigned, Brad S. Rush, Esquire, am the attorney for the Plaintiff in the
above-captioned matter.
        2.      I mailed a true and correct copy of the Civil Action Complaint in this matter to
Defendant, The Container Store, Inc., at their last known address via regular U.S. mail as well as                                         I
 via certified, return receipt requested bearing article number 7014 3490 0000 7868 7792.
         3.      Thereafter, I received a return receipt card bearing the same article number signed

by a representative, agent and/or employee of Defendant on April 9, 2019. The aforesaid return

 receipt card is attached hereto.

         I hereby celtify that due foregoing statements made by me are the. I am aware that if any
 of the foregoing statements made by me are willfully false, I am subj ect to purdshment


                                                KOVLER & RUSH, P c.

          L/.    .                              /
 DATE:        I/8"/9                    BY:
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                                                BRAD S. RUSH
                                                                      -
 Sworn and Subscribed                           Attorney for Plaintiffs
 before me this /5 We      day
 of    /9 /IL              , 2019.
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 Notary Bu 1ic                                                                             \

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KOVLER & RUSH, P.C.                                        Mlle   yo plat"0t~{t'§105
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BY: BRAD S. RUSH, ESQUIRE                             AW"                         MAY"201.9    .4
Atty. ID NO.: 72896                                                                \ Ifm.._Russo;,
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123 South Broad Street, Suite 2250                                                  *."9     -    .g. 1
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Philadelphia, Pennsylvania 19109
(215)735-5476
GENA ALULIS and                                       COURT OF COMMON PLEAS
PAUL ALULIS                                           OF PHILADELPHIA COUNTY
                                                      CIVIL ACTION .- LAW
               v.

THE CONTAINER STORE, INC.
          and                                         No.: 190400616
BASE4 GROUP, INC.

                        PLAIQNTIFF'S REPLY TO NEW MATTER
                     OF DEFENDANT. THE CONTAINER STORE.. inc_.

        AND now       comes plaintiffs, by and through their attorneys, Kovler & Rush, P.C. and

replies to Defendant, The Container Stores, Inc's New Matter as follows:

32.     Denied. It is denied that plffntiffs assumed the risk of all injuries which limits andfol bars

all claims.                                                                                                          3



33.     Denied. It denied that plaintiffs acted in a highly recldess manner which limits and/or bars
                                                                                                                     I
all claims.
                                                                                                                     3
34.     Denied as a conclusion of law to which HO responsive pleading is required pursuant to the                    I
Pennsylvania Rules of Civil Procedure.

35.     Denied . It is denied that plaintiffs' claim failed to state any cause of action against

Answering Defendant upon which relief can be granted.

36.     Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

37.     Denied. It is denied that plaintiffs' claims are barred because of an express O' implied

contl'act and/or release.

38.     Denied. It is denied that plaintiffs' claims are barred because of improper service of

process,                                                                                           CaseID; 190400616 1
       Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 95 of 99




39.      Denied as a conclusion of law to which 110 responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

40.      Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

41.      Denied. It is denied that plaintiffs' claims are ball'ed for failure to sue an indispensable

party.

42.      Denied. It is denied that Answering Defendant owed no duty of care to plaintiffs.

43 .     Denied. It is denied that Answering Defendant did not breach any duty to plaintiffs.

44.      Denied. It is denied that any alleged dangerous condition was open and obvious.

45.      Denied. It is denied that Answering Defendant had no knowledge or notice, either actual

or constructive, of any alleged defect 01' condition as described in Plaintiffs' Complaint.

46.      Denied. It is denied that Answering Defendant did not design, fabricate, Manufacture,

distribute and/or resell the product as described in Plaintiffs' Complaint.

47.      Denied. It is denied that Answering Defendant did not design, fabricate, manufacture,

distribute and/or resell the packaging for the product as described in Plaintiffs' Complaint.
                                                                                                                   i
48.      Denied. It is denied that Answering Defendant did not alter, modify, change or otherwise                  I
vary the product and/or packaging of the product as described in Plztintilié' Complaint.                           I

49.      Denied. It is denied that the defective packaging was caused by a third party over whom

Answering Defendant had no control.

50.      Denied. It is denied that third panties, over whom Answering Defendants had no control,

altered, modified, changed or otherwise varied the product and/or packaging of the product as

described in Plaintiffs' Complaint.

51.      Denied. It is denied that the product was placed on the shelf and/or display in a safe

condition and subsequently was handled by third parties over whom Answering Defendant had

110 control.
                                                                                              Case ID; 190400616
      Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 96 of 99




52.    Denied.     It is denied that plaintiffs misused the product as described in Plaintiffs'

Complaint.

53.    Denied. It is denied that plailltiffs' injuries, impairments, damages, expenses and/or

losses are pre-existing in nature.

54.    Denied. It is denied that plaintiffs' injuries, impairments, damages, expenses and/or

losses were caused by a subsequent incident and wore not proximately caused and/or aggravated

by the incident.

55.    Denied. It is denied that no omissions or conduct on the part of Answering Defendant

contributed to plaintiffs' injuries, impairments, damages, expenses.

56.     Denied. It is denied that plaintiffs' injuries, impaiiunents, damages, expenses and/or

losses were proximately caused in whole,     01'   in   pa1"£,   by third parties, including plaintiffs, for

whom Answering Defendant is not responsible.
                                                                                                                        i
57.     Denied as a conclusion of law to which no responsive pleading is 1'equi1ed pursuant to the

Pennsylvania Rules of Civil Procedure.

58.    Denied. It is denied that Answering Defendant did not act negligently or carelessly in
                                                                                                                        I
disregard of the rights of the plaintiffs.                                                                              I
59.     Denied as a conclusion of law to which 110 responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

60.     Denied. It is denied that plaintiffs' claims for damages are excessive and unsupported.

61.     Denied. It is denied that Answering Defendant acted in accordance with the applicable

codes and state and federal laws .
                                                                                                                        |
                                                                                                                        1


62.     Denied. It is denied that the conduct by the Answering Defendant was reasonable and                             II
within accepted trade practices and standards.

63.     Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.                                                             Case ID: 190400616   I
      Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 97 of 99




64.    Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedul'e.

65.    Denied as a conclusion of law to which no responsive pleading is 1'equi1°ed pursuant to the

Pennsylvania Rules of Civil Procedure.

66.    Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedule.

67.    Denied as a conclusion of law to which no responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

68.    Dem'ed as a conclusion of law to which 110 responsive pleading is required pursuant to the

Pennsylvania Rules of Civil Procedure.

       WHIEREFORE, Plaintiffs, Gena Alulis and Paul Alulis, demand judgment in their favor

against Defendants, The Containel Store, Inc. and Base4 Group, Inc., 'individually and
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collectively, in the amount in excess of Fifty Thousand ($50,000.00) Dollars plus interest, cost of            I

litigation and delayed damages.


                                                     KOVLER & RUSH, P.C.                                       I

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Date: Q'-~ /-` /                             BY:        /
                                                     BRAD s. RUSH
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                                                                                          Case ID: 190400616
     Case 2:19-cv-02564-MSG Document 1 Filed 06/13/19 Page 98 of 99




                                      Y.ERIFICATION


       The undersigned, being duly swam according to law, deposes and says that he is counsel for

the panty Ol parties indicated on the preceding pages as being represented by said counsel, that he

has examined the pleading and the entire investigative file made on behalf of said party or parties,

that he is taldng this verification to assure compliance with the pertinent rules pertaining to timely

tiling of pleading and other documents described by said mies, and the facts set fo11h in the

foregoing documents are true and cowect to the best of his knowledge, illfol'mation and belief. The

undersigned understands that the statements therein are made subj ect to the penalties of 18 Pa. C.S.

Section 4940 relating to un0worn falsification to authorities.




                                                       KOVLER & RUSH, P.C.                                        Q
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Date: 4
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                                                       Attorney for Plaintiffs
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KOVLER & RUSH, P.C.
BY: BRAD S. RUSH, ESQUIRE                                  Attorney for Plaintiffs
Atty. ID NO.: 72896
123 South Broad Street, Suite 2250
Philadelphia, Pennsylvania 19109
(215)735-5476
GENA ALULIS and                                 4
                                                4          COURT OF COMMON PLEAS
PAUL ALULIS                                     •
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                                                           OF PHILADELPHIA COUNTY
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                                                O          CIVIL ACTION .- LAW
                 v.                             I•
                                                .•
THE CONTAINER STORE, INC.                       l•
          and                                   •\        No.: 190400616                                           i
                                                                                                                   i
BASE4 GROUP, INC.                               l4

                               CERTIFICATE OF COMPLIANCE                                                           i

                                                                                                                   ;
         I, Brad S. Rush, Esquire, attorney for Pla'mtiff, hereby certifies that this filing complies

with the provisions of the Public Access Policy of the Unified Judicial System of Pennsylvania;
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Case Records of the Appellate and Trial Counts that require filing confidential iuiblmatioxl and
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documents diffelently than non-coniidential information and documents.
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                                                KOVLER & RUSH, P.C.


Dated:     r
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                                                BRAD S. RUSH, ESQUIRE
                                                Attorney for Plaintiffs
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